Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 1 of 144 PageID# 2290




   EXHIBIT 29



                                                              FFXCO_12831
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 2 of 144 PageID# 2291




                                 A DIGEST
                                                           OF THE




         ACTS OF ASSEMBLY
                                          B:ELATING                         TO,




                                                     ANU TIIE




                  GENERAL "OHDINANCES.
                                                           OF TJIE



             CITY OF PITTSBURGH               1




                               From 1804 lo Jan. 1, 1897,
                     \\'ITII   HEFEB E:\'CE~ TO TlECISIONS THEREON.


                                   SECOND                      EDITION,



                  PREPARED       l~:\'DER RESOLuTION                                   OF COUNCILS

                                                              BY


                                   \\'.       W. T HO l\r SO :\'
                                          1)1,"   TJlf:.   l'ITTSRCRGU   flAR.




                                                                                              . --
                                          -----                            -~     --   ~




                                          PITTSBCRGH, PA.:
                  W. T. NICHOLSON           SONS, PRINTERS AND BINDERS.
                                                 1897.



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 3 of 144 PageID# 2292




           4!)6                       OHDI~.\~CES-EXECrTIYE                               DEPAflT~IE~T~.


                                                             BUREAU OF PARKS.

            July at, tHD:1,• 1.        1. l'here shall be and is hereby created a bureau to be known
               0 8
                • • 11·21!:!.      as the "bureau of parks," which bureau shall consist of one
           Bureau of parks :-uperintendent whose compensation shall be two hundred dollars
           created.
                                   per mont l1, one supcnnten    •      d ent, w h ose compensation        • sh a 11be
                                   one hundred and fifty dollars per month, and one a~istant
           Offii-cr!I llnd         superintendent whose compensation shall be one hundre<l
           employees.
                                   and twenty-five dollars per month, one clerk whose compensation
                                   shall be eig-hty-three dollars and thirty-three cents per month,
                                 ' and such foremen and laborers as may be required from
                                   time to time, at the same pay as like labor in other department~
                                   of the city (a).
               Ju1 6, IB!ltl.         2. "'HEHEas,        The control, maintenance, ~upervision anJ
                0 • 11  11
                       • • tao. preservation of the public parks is by law vested in the depart-
                                   ment of public works ; and
                                      "' HER EA~, It is essential to proper exercise of these poweri'
           l'reamhlc.              that persons should be employed as watchmen in the public
                                   parks for the protection of the public property therein.
                    Ibid S I.         3. Be it o,-dniill'd,&,·., That the director of the department
            Watchmen com- of public works shall, and he is hereby authorized to employ
           pen,;atlon.             such watchmen a.-;may be neces~ary for the properly caring for,
                                   maintaining and protecting the public. property in the public
                                   parks of this city at the daily compensation of two dollan,; and
                                   fifty cents each.
                  lhld. I:!.          4. The compensation of i-;uchwntchmen shall be paid out of
                                   appropriation No. 36, public parks.
             July :!7, tl-!9:1.11.
                0 0
                                       5. Upon the passage and approYal of this ordinance the
                   • • !l, :!tlO. following rules and regulations shall be and are hereby established
            Rules adopteJ.         for the management and protection of the parks and puhlic
                                   grounds of the city of Pittsburgh, to wit :
                                      P'ir.~t. :\'o person shall injure, deface or destroy any notices,
                                   rules or regulation:- for the gonrnment of the parks, posted or
                                   in any other manner pennanently fixed by order of the chief of
                                   department of public works.
                                      8,mnd.      No person shall be allowed to turn any chickens,
                                   ducki-;, 1-{eese or other fowls, or any eattle, goats, swine, hon-es
                                   or other animals loose within the parks or to bring led horses
                                   or a horse that is not harnessed and attached to a ·vehicle or
                                   mounted by an equestrian.
                                       Tl,ird. Ko person shall be allowed to carry firearms, or to
                                   shoot or throw stones at or to set snares for birds, rabbits,
                                   squirrels or fish, within the limits of the parks or within one
                                   hundred yards thereof.
                                      Fourtli. Ko person shall cut, break, pluck or in anywise
                                   injure or deface the trees, i-hrub~, plants, turf or any of the
                                   buildin~s, fences, structures or statuary, or place or throw any-
                                   thing whatever in any springs or i-;treams within the parks, or
                                   faf-ltena hori-;eto a tree, hui-;hor shrub.
           (,1) As a111e11lled hy oriilna.nce of Nov.~:;, 11'!•1o. TI. 11,p. :J:?(l, and ordinance of March 31, 11!116.
                                                                                                                     O. B.
                                                             11, I'· ¾U.




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 4 of 144 PageID# 2293




                          PUBLIC WORKS-PARKS.                                         4!>7
            Fifth. No military or other parade or procession, or funeral ,July 27. IRro.
         shall take place ip or pass through the limit.'l of the parks with- Park rules.
         out permission from the chief of department of public works.
            SiJ:th. No one shall ride or drive therein except on the
         avenues or roads, or at a rate of speed exceeding eight miles
         per hour.
            Seventh. No gathering or meeting of any kind, aasembled
         through advertisement, shall be rermitted in the parks without
         previous permission of the chie of the department of public
         works, nor shall any gathering or meeting for political purposes
         in the park be permitted under any circumstances.
            Eir1hth. No wagon or vehicle of burden or traffic shall yas."
         through the park, except on such road or avenue as shal be
         designated by the chief of the department of public works for
         burden transportation.
            Ninth. No coach or vehicle used for hire, shall stand upon
         any part of the parks for tl-e purpose of hire, nor except in
         waiting for persons taken by it into the park, unless at points
         designated by the chief of the department of public works.
             Tenth. No profane, indecent, abusive or insulting language,
         gambling or drunkenness shall be allowed within the parks, nor
        shall any one be allowed to introduce any spirituous liquors
         within the limits of the same, either for his own use or for sale.
            Elei,enth No person shall climb any tree or attach any swing
        thereto, without the consent of the superintendent.
            'l'wdjth. No picnic shall take place in the parks without a
        written permission for the purpose being obtained from the
        :-:uperintendent, in which shall be designated the spot where it
        shall be held, and parties holding picnics shall clean up the
        ground that has been occupied by them on quitting it, and not
        leave paper and other refuse on the ground.
            Thirteenth. No person shall disturb any picnic in the parkl-1,
        or intrude himself or henself on it without the consent of those
        composing it.
            Fourteenth. No person shall stand, walk or :-;iton any fence,
        wall or embankment, or stand, slirle, sit or roll upon any slope
        of the parks.
            F~fte~11fh. Ko person shall set up any booth, table or stand
        for the sale of any article whatever, without the consent of the
        chief of the department of public works, previously obtained in
        writing.
           Sixtee1ith. When carriages or eque:--trians meet, the parties
        respectively shall keep to the right as the law of the roa1l.
           Secenll'enth. No person i;hall drive any vehicle displaying a11y
        placard or advertisement of any kind along any road or avenue
        in the parks, nor shall any per~on display any placards or
        advertisements of any kind, or post or fix any notice or hill or
        other writing or printing of any kind on any tree, larnp-post,
        hydrant, curbstone, coping, flagstone, fe11ce  1 wall,  building or
        other place within the parks.
            Eighteenth. No benches or seats shall at any time be rc1110\·ed
              33



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 5 of 144 PageID# 2294




           498                     ORDINANCES-EXECUTIYE                      DEPARTMENTS.

                July 27, tf:193   or changed from their places in the parks, except by the order
                                  first obtained of the superintendent.            .
                                     Nineteenth. Bicycles and tricycles shall be restricted to the
                                  use of the roadways, and be controlled by the same law which
                                  governs horses, vehicles and equestrians, and must pass to the
                                  right, when meeting the same or each other. \Vhen passing a
                                  carriage or equestrian from the rear to the front, it must be done
                                  to the left side and at a moderate rate of speed. Bicycles and
                                  tricycles must not travel more than two abreast.
                                      Tire11ticth. All racing with horses, vehicles, tricycles and
                                  bicycles is prohibited at any time, and bicycles and tricycles
                                  must not be driven or propelled at greater speed than eight
                                  miles per hour.
                   lhld. i 2.        6. Any violation of any of the foregoir.g rules shall subject
            Penalty.
                                  the  party so offending to a fine of twenty-five clollars, to be col-
                                  lected by summary process.
             Ang. 21!, 11m. i 1.     7. The citizens of the Sixth and Fourteenth wards of the city
                o. u.3, 122• of Pittsburgh, residing in the vicinity of Bluff street, shall be
            Improvement          and are hereby authorized to enclose with a good substantial
            ~frg:['~~ra  8
                          ~!':t:fence a portion of Bluff street, from Gist to Magee street, as
            a.utho.nzed.         follows, viz: Commencing at Gist street thirty feet south of the
                                 northern curb line, and thence running by a line preserving the
                                 same width to Magee street, said fence to be constructed with
                                 openings at the street crossings, and at such other points as may
                                 be deemed proper openings for the convenient access of foot
                                 passengers. Said citizens shall be further authorized to lay off
                                 the grounds south of said fence to the line of said street with
                                 walks, and within said enclosure, and on the outside thereof, to
                                 plant trees and shrubbery, erect fountains and make other im-
                                 provements thereon suitable for a public promen~e: Provid-C(I,
                                 That no trees or other improvements shall be placed upon said
                                 street within a distance of twenty feet from the north curb line
                                 of said street.
                  lhld. I 2.         8. Said improvements shall be made and maintained at the
           ctty not liable       expense of the parties making the same, and the city shall not
            t r expense.
            0                    be liable for any expense COl!tracted·for or on account of the
                                 same.
                  Ibid. I 3,         9. Said city reserves the right to direct the grading and pav-
           City may grade ing of said street at any time hereafter, without compensation
           and pave.             for the improvement which may be made thereon as fully as if
                                 this ordinance had not been adopted.
                 Ibid. i •·          10. Said improvements and the maintenance- and care of the
                                 same shall be under the charge of such persons as may be se-
                                 lected by subscribers to the fund for making the same.
                                     11. It shall be unlawful for any person to injure or destroy
           Penaltv for ln-       any    fence, trees, shrubbery or other improvement upon said
           jurio~·lmi,ro,·e-
           ments.
                                 ground;    and if any person shall wilfully injure or destroy the
                                 same, or any part thereof, he or she shall forfeit and pay the
                                 sum of ten dollars, in addition to a sum sufficient to repair or
                                 Tt>placethe damage, to he recovered by action in the name of the
                                 city of Pitt-F1burgh 1 or by summary conviction before the mayor




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 6 of 144 PageID# 2295




                           P'CBLIC WORKS-PARKS.                                            499

        or any alderman of said city, and the sum so recovered shall be Aug.:?R.1s;1.
        paid to the person having charge of said improvements, to be
        expended upon the same. •
             12. The superintendent of the water works shall be author-             Ibid. f ,1.
        ized to direct a supply of water, free of charge, for not more supplyor wut.er
        than two fountains upon said ground at all reasonable        .
                                                                        times tor  two roua_-
                                                                              talus 11uthur1zed.
        and to reasonable amounts, from the first day of Apnl to the
        fifteenth day of October in each year: Provided, That said
        superintendent shall be authorized to prevent the unnecessary
        waste of water, and to prohibit its use during times of short
        supply.
             13.   \VHEREAS,    The public market-house on Second street is sept.:!7, 1....~.
        of no benefit to the city ;                                               o. 8 - 2, 12-'>.
             And whereas, The heirs and legal representatives of the es- Preamhle.
        tate of James O'Hara have, by deed dated the seventeenth day
        of l\Iay, one thousand eight hundred and twenty, and on the
        ninth of August, one thousand eight hundred and fifty-eight,
        consented that the ground dedicated by the late James 0' Hara,
        on Second between Ross and Grant streets, may be used as a
        public square or area ; therefore,
             14. Be ,it ordained, &c., That all that portion of Second street       Ibid. i 1.
        extending from Grant to Ross street, and UBed for the purpose seco;d-~tr~ ..t
        of a market house be and the same is hereby devoted to the mark"t t,o he
        purpose of a pu bli'c par k, to be ornamente d m   . sue h manner as made a park.
        shall be directed by the mayor of the city and members of coun-
        cils for the time being of the Second ward, who are hereby Hules.
        authorized to adopt such rules for the same as may, in their
        judgment, be proper, and to keep the same posted on the gate-
        posts thereof : Provided, The whole expense of removing the                  .
        market-house and of constructing said public park an<l keeping Promo.
         the same in repair, shall be provided by voluntary subscription,'
        and shall in no case be a charge on the city treasury.
             1!3. Any person that shall injure or destroy any tree, shrub         Illl•L f :!.
         or any otherdt~inghw ithin said pa~k,. or bthfewall or fence th at l'enalt Y for·
         may surroun 1t, s a11, upon connct10n e ore tie       1 mayor, 11e lnjurtv~.
         tined a sum not exceeding five dollars, in addition to the
         amount necessary to repair any injury so done, to be reco,·ere<l
         ns like penalties are by law recoverable.
             16. It shall be lawful to erect within the said area or park          IhilL_l_:-
         one or more fountains, to be supplied from the public water pipes Fountains.
         without any charge for the use of the water.
             17. Before the work necessary for said improvement shall be Jhid. I 4.
         commenced, the mayor and ·members of councils from the
         Second ward shall meet n.t the mayor's office and choose frorn
         among themselves one president, one secretary, and one treas-
         urer, and shall proceed to agree upon a plan of the work, &·c.
             18. For the purpoEe of constructing and maintaining a public 1'ept. u, 11,~11i 1.
         park, there shall be and is hereby set a~ide, dedicated and appro- 0 ·~•· J:H.
          P
          •
            riated
               •
                    so much of the t>"round belonging to said city· as is not Dedication
                                                                              Herron lilll
                                                                                              or
          md1spensably necessary for the safe and proper use of the reser- l'ar\l..             . .
          rnir known as the Herron Hill Re1:;ervoir.



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 7 of 144 PageID# 2296




          500                    ORDI1'ANCES-EXECUTIYE                     DEPARTMENTS.

          Sept., H, Hl89, I 2.   19. The chief of the department    of public works of said city
          Impronment.          be and he is hereby authorized and   directed to improve all said
                              ground lying around, adjncent to and connected with said reser-
                              voir, and which shall not be found actually necessary for the
                              operation of said reservoir, to be used and enjoyed aa a public
                              park, to be known aa and by the name of the '' Herron Hill
                              Park.''
           Sept. 111,1889,i 1. 20. For the purpose of constructing and maintaining a public
          Dedication of       park, there shall be and is hereby set aside, dedicated and appro-
          Hlghland Park. priated so much of the ground belonging to said city as is not
                              indispensably necessary for the safe and proper use of the
                              reservoirs known as the Highland Reservoirs.
               Ibid. i 2 •       21. The chief of the department of public works of said city
          Improvements.       be and he is hereby authorized and directed to improve all said
                              ground lying around, adjacent to and connected with said reaer-
                              voirs or which may be added thereto, and which shall not be
                              found actually necessary for the operation of said reservoirs, to
                              be used and enjoyed as a public park, to be known as and by
                              the name of '' Highland Park.''


                                            BUREAU OF CITY PROPERTY.

          Dec. 11. 1887:i:Jts.    1. There shall be and is hereby created a bureau to be known
             0
                  :..!.~ • as the bureau of city property, the head of which shall be known
          Bureau created. as superintendent of city property, and who shall receive the sum
          Title of bead.       of one hundred and fifty dollars per month as his compensation.
          Salary.              The duties of this bureau shall be to take charge of all public
                               property belonging to said city not otherwise conferred upon
          Duties.
                               some other department, including markets, city buildings,
                               wharves, and such other property of the city as is not specially
          Cieri..              conferred elaewhere: Providd, That the chiefclerk of this bureau
                               shall act as clerk of the Diamond markets without extra com-
                               pensation.
            Feb.281soo. i 1.      2. From and after the date of the passage of this ordinance,
               0        7 321
                 ·..!!:. •   • the salary of the clerk to the bureau of city property (who also
          Salary of clerk of acts as clerk of markets) shall be and is hereby fixed at fifteen
          bureau of city                                                .
          property.            hundred dollars per annum, and the said clerk to the bureau of
                               city property shall receive compensation for his services at the
                               rate of fifteen hundred dollars per annum from and after the
                               date of the approval or passage of this ordinance.
          VltyCode, 2aq1.         3. If any person shall destroy or injure in any way whatso-
          Pf'natty for In- ever any public property within tt1is city, he shall forfeit and
          Jurlog.              pay for every such offense a fine C1fnot less than ten dollars and
                               not exceeding fifty dollars, besides the amount of the costs and
          l'rovii,o.           expenses of repairing the same: Proiided, That when the injury
                               is accidental no further fine shall be imposed than the amount
                               of the cost and expense of repairing.
                 l hid. I:!.      4. It shall be the duty of every city officer to report to thP
          r1ty offlrers to     controller any damage or injury which may be done to an~·
          ~;~~-to con-         public property in his possession, that the same may be laid



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 8 of 144 PageID# 2297




   EXHIBIT 30



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 9 of 144 PageID# 2298




                            THE

                                               OF THE

   ·,


                     TY OF WILMINGTON
   ::;~
     !~~-~
                             As    AME!liDED    To      MAY    6TH,   1893;
      ,,;!=(


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   )ii!
    ,-
                     s of the GeneralAssembly
                      RELATING                     TO       THE        CITY,

                 .          INCLUDING        THE     SESSION OF I 893";                    .
                 t~-~_::r     ~              ./ 4': ~~                  ct/      ~-J
                                               -AND-                    ,0


                     INANCE~
                         AND
                           RULES
                              AND
                                REGULATIONS
                       Of Departments
                                   of the CityGovernment,
                     AMENDED        AND IN     FoRcE,        SEPTEMBER        1ST, 1893;


                                               -ALSO-
     if1
   -;tl~;t:t          ORIGINAL BOROUGH CHARTER.
   Hf:~,~;~;I•                       '


   tf(li             PUBLISHED           BY ORDER           OF THE      COUNCIL.


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                                          WILMINGTON,       DEL.:

    ,j,if~1                       .flAMOND     PRINTING COMPANY,


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                                                   18cJ3.

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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 10 of 144 PageID# 2299




                                 PART VII.



                 RULES        AND          REGULATIONS

                                      OF   TIIE




                    BOARDOF PARK COMMISSIONERS.




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 11 of 144 PageID# 2300




              RULES AND REGULATIONS OF THE                         BOARD OF
                        PARK COMMISSIONERS,

                     As AMENDED     AND IN FoRcE   SEPTEMBEk    rsT,   1893.



                    I.  No person shall ride or drive upon any other part of
              the Park than upon such roads as may be designate<l for such
              purposes. . . . . . . . . . . . . . . . . . Penalty, $5 oo
                    2.  No person shall be permitted to bring led horses within
              the limits of the Park, or to turn any horses, cattle, goats, swine.
              dogs, or other animals loose in the Park. . . . . Penalty. S5 oo
                    3. No person shall indulge in any threatening, abusive, in-
              sulting, or indecent language in the Park. . . . . Penalty, $5 oo
                    4 No person shall engage in gaming, or commit any ob-
              scene or indecent act in the Park. . . . . . . Penalty, $IO oo
                    5. No person shall go into bathe in any of the waters within
              the Park. . . .      . . . . . . . . . . . . . Penalty, $5 00
                    6. No person shall throw any dead animal or offensive
              matter or substance of any kind into the Brandywine, or into any
              spring, brook, or other water, or in any way foul any of the same,
              which may be within the boundaries of the Park Penalty, S5 oo
                    7. No person shall carry fire-arms or shoot birds or other
              animals within the Park, or throw stones or other missiles therein.
                                                                  Penalty, S 5 oo
                    8. No person shall disturb birds, or annoy. strike, injure or
              kill any animal, whether wild or domP.sticated, within the Park.
                                                                  Penalty, $5 oo
                    9. No person shall cut, break, or in anywise injure or de-
              face any trees, shrubs, plants, turf or rocks, or any buildings,
              fences, bridges, or other structures within the Park.
                                                                 Penalty, S Io oo
                    IO   No person shall injure, deface, or destroy any notices,
              rules or regulations for the government of the Park poskc.1 or in
              any other manner permanently fixed, by order or permission ol
              the Board of Park Commissioners or their officers or employes.
                                                                 Penalty, $IO oo
                    Adopted October 12, 1887.




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 12 of 144 PageID# 2301




    EXHIBIT 31



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 13 of 144 PageID# 2302
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                                                                                   I




                         GENERAL

        ORDINANCES
                                             ANL)




                    iPRIVATE ORDINANCES                                OF A
                              PUBLIC iNATUR.E

                                              OF




           THE CITY OF ST.
                       ... PAUL
                          RAMSEY      COUNTY,,      M.rNN!ESOTA.




              UP 'TO AND INCUJID[NG :DECEMBER 31s1, 1895:


                                                                                                                  ,
                                                                                                              I




                                       €0MPl!sED    BY

                           JOHN     A. GILTINAN,             ES~.,
                              MEMBER    <DF ':J"H•E
                                                  Sil". PAUL BAR



                              UNBKR    1FH•lt SUPKRNIS!ON        OF

                EDWARD   J. DARRkGH,        ESQ., CORPORA".TIC>N A't'TORNEY.




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                                                                                                     ·"
                              PUBLISHI>El    BY AUTHORI"FY        0F

                           TME COMMON COUNCIL .
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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 14 of 144 PageID# 2303




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 15 of 144 PageID# 2304




                  .J                              PREFACE .

                This CID:IDJ)))iI1ati0n
                                    of •orcltinoo,oes·of the City ©if St. Pau[, Mim1•esota:, b:a:sbeel!l
        made       pi111·sua:r!lft
                                to ttlile )))l!IDvisi0ns 0f Ordinance                No. 1834, apprnved         Sep,t.
        •1, 1895, an<fl.Ord!ililance No. 1861, aji}]i)roved JMll. lO, 18~6. (See followililg                   )))age.)
                'l'J;ie eoID)))Himg, iill!dextu,g =d    )))Dei))),al!in:g   fos1:publlicwti:on hiave tbeem d'©<lileby
        ;T,(l)lhnA. Giltina.l!l,   Esq., U!IL-dertJhe sUJpervisiolil of 1JheLaw Depa.i;tment;                    and,
        although         this   work    il,1,as been   done wdth very             gr-eat cai·e, a 1<E1•ore
                                                                                                        gen.erou.s
        limit     of time tlil,run tlie tilmree mouths aJ.lorwed !Dy Ordi]]lanee ]~84 woold                     have
        given the O[)IJ)OCrtl!l!lilirtiy
                                    for iID:il1p,roverne,n,t.
             In ±11:ecitation          0f o,rdinainces at the em<fl.(l)<fth-e c@msecuti,ve sections,                 the
        &ate r,efer,s to tile ])assage of 1ihe Ol.'dimance ul!lIless the w0r<fl. "approved"                          aw-
        pears.         Jin rn:fierring ;to ord\inances passed sih,ce the dual council                   began t0 aet
        ilil May, 189ll, t!he darte refers to tlile liiMl wassage.
             IN the ])a1rt of rt;b.etl(i)0lt      contai11iJ!l,g "Frivame          Ordinances     of a Public        Na-
        tu,re," it was, as a rl!l!le, thol!l!ght best to make each ordi,l!lance a consecutive
        sec,tion.
                                                                                         E. J. DARRAGH,
                                                                                        C0,r])orat:0n    Attorney.




                                                                                                                                    '/,




                                                                                                                           FFXCO_12845
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 16 of 144 PageID# 2305
                                                                                                        I.




               § 680,                                   PARKS.



                                         ARTICLE. Lil.

                                                     PARKS.

               § 680.     Rules and regulations for management 'and' pro-
                           'tection of· pa~ks.
                  The boarl;l. of park commissioners of the City of St. Paul having adoptea
               certain rules and regulations for the management and protection of the parks
               of the City of St., Paul, a-s provided by th() ch,arter, .for the p.urp@se of fixing
               a penalty for the violation of said rules, the common council of the Oi,ty of
               St. Paul d-o ordain -as :follows-:
                  li'irst-No ,person shall drive or ride in any public park o·r grounds in the
               City of St. Paul at a rate of speed e:i;:,c~edingseven (7) miles per hour.
                 Second-No person shall ride or drivse U'.[lonany other part oi!lu1y park than·
               tbe •avenues and roads.
                  '.Dh:·rd-No co{1ch o·r vehicle l'lsed :fior hire shaU st.and upolil any part of
               alily p,ark, for the purpose o,f hire, unless specially licensed by the b0ard 0f
               park ,commissioners.
                  Fourth-No     ,person shall engage in any threatening,         abusive, insulting,
               indecent language in any .park.
                  Fifth-No person -0r persons shall engage in any gaming, nor commit any
               indecent or obscene act in any park.
                  Sixth-No person shall carry _firearms or shoot birds in any park, or within
               fifty (50) yards thereof, or throw stones or other missUes therein.
                  Seventh-No person shall throw any dead animal or offensive matter or
               substance of any kind into any park or into a.lJi.Ylake, stream, po-ol or pond
               within tb.e limits of any _park.
                  Eighth-No person shall disturb the fish @r water ;fowl in any 1ake, stream,
               pool or pond in any part of any park, or annoy, strike, injure, maim, or kB!
               any biJ.,ds ot· other animals kept by or u11der the direction v,f ithe board of
               park commiss!one:rs, either running rut 1-arge or -confined in ·any close or cage,
               nor discharge any fireworks within any rpark.
                  Ninth-No person shall affix any bills or notices in any ~a1;k_.; • •
                  Tenth--;--No person sJ1all bathe i:µ,:),,nylake, stream, pool or. pond wtth,ip, the
               limits of any pru:k.
                 Eleventl!l-:-No perso,n shall cut, break ,or in anywis,e injµre or de.face the
               trPes, shrubs, plants, :flowers, turf, or any of the, buildingl:?', -str11ctures, ifences,
               seats,. benches, or statuary, or in any way fo1'11or pollute any fountain, lake,
               stream, •pool, pond, well, or spring within any park.
                 Twelfth-No person shall tl1rn oo.ttle, goats, swine, horses, dogs, or any other
               anlmal 1'oose in any park, nor shall any animals be p·ermitted to run at large
               thrrein, unless by a11tb.ority of the board of park commissioners.
                  Thirteenth-No      person shall ride or drive any bi.cycle or -other vehicle in
                or on any. of the walks, p,aths, or gr-ass plots, except in the avenues o,r road-
               waws of any park.
                    (2Q8)




                                                                                              FFXCO_12846
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 17 of 144 PageID# 2306




        Art. LII.]                                                              §§ 680-681
          Fc;)lil,rteentl!J.-Nol')ers@n sl!J.allwa[k 011or 0ve1· 1ifoJer beds ia any .park, or
        on or 0ver any ·grass ])'l©lt wMelli may be design.ated by a11y fence· or sign
        a1snot ~pen to tl!J.ep1iLblic.
          Fif:teenth-N@ pers@Illshall use any pa.rk fo.r 1:msin.ess purposes, 01· 1for a,ny
        transportati@n 0f faxm @r other ])roducts, d•irt or any ll!ke material, or :1lo·r
        &e ])assaJge o:11ap.y teams empl@yed ;for sucl!J.purposes, except by permission
        of the board oil! park <wmmiss}oners:
           Sb,.,i;eent!la-N0 !Person shall im~ure, deface or des·tr0y any notices, rules or
        '!e•gitlati0Hs for the g0v;ernme11t of a,ny park which are posted 0r affixed blY
        @rder or permission t;>f the b0ard 0f park, commissioners within the 1ii:t1its'Of
        any ])ark.
                                                              eord. 1767, June 19, 1894, § _1.~

        § 691.       Penalty.
           Any person or persous violating any of the p~·ov1s10,nscf t:bis orcfinance
         or any of the ruJes estabEshed by the b01ard o11park commissioners of the
         City o:11St. Fall!l :1'0:rthe orrde1·ly managmuent and ·protection of the parks of
         the Oify 0-f St. Paw shal[ be fined for each offense mot less 1.han five (5) norr •
         m@re tham @ne limnd1·ed d'@Uars ($il00), 0r sb.aU be punisl!J.ed by imprisonment
         for not l.ess tlian five (59 nor l!lilOretl!J.an eight-five (8ffi) days.
                                                                                   (Id. § 2.)




                                                                                  (209)




                                                                                             FFXCO_12847
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 18 of 144 PageID# 2307




    EXHIBIT 32



                                                              FFXCO_12848
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 19 of 144 PageID# 2308




                  REVISEDORDINANCES
                                                                           r
                                                                               )   .. l
                                         OF THE




         crry()F CANTON
                          ILLINOIS.




                                               BY

                      B. M. CHIPERFIELD,                  City Attorney.




            PUBLISHED BY AUTHORITY OF THE CITY COUNCIL.




                                     CANTON,        lr,L. :
                             DAILY     REGISTER          PRESS:
                                          1895.




                                                                                     FFXCO_12849
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 20 of 144 PageID# 2309




                                REVISED   ORDINANCES.                   239


          advertise,   by outcry or by the ringing of any bell or the
          blowing of any horn or the beating of any drum, his, her or
          their business, or any sale or sales at auction or otherwise.
          Any person violating any of the provisions of this section
          shall be fined not less than ten dollars nor more than one
          hundred dollars for each offense.
                SEC. 20   Sales on streets prolzibited. No person shall be
          allowed to sell at auction or public outcry, nor to erect or
          occupy a stand of any kind for the purpose of making sales,
          upon any of the streets, alleys, avenues, sidewalks, crossings
          or other public places in said city, nor shall any person be
          permitted to sell from any carriage, buggy or other vehic1e,
          upon any of the streets, alleys, avenues, sidewalks, crossing,
          or other public place in said city, except as hereinafter pro-
          vided, under a penalty of ten dollars for each offense.
                SEC. 2 r.  Construction ojforegoing section. The foregoing
          section shall not be so construed as to apply to any person or
          persons coming into the city from the country with teams or
          otherwise with any produce for market raised by themseives,
          or to any person selling vegetables, berries, fruit, milk or other
          farm produce of their own production ; nor shall the same be so
           construed as to make it a penal offense to peddle newspapers,
           nor to apply to judicial sales; Provided, that farmers or
           others selling under the provisions of this section shall not
           occupy a stand upon any sidewalk, alley or crossing, nor
           within a space of ten feet of any such sidewalk or crossing
           upon any street or public square, nor shall they allow their
           stand, wagon or other vehicle from which they may be selling
           to remain in front of any person's place of business without
           the consent of the occupant of such place of business, nor so
           as to obstruct the convenient travel of the street.
                 SEC. 22.   Telep/zone and telegraplz poles. No person or
          corporation shall set or cause to be set any telegraph, tele-
           phone or other poles upon any street or alley within the City
           of Canton, or string or hang any wire along or across any
          street or alley, unless authorized so to do by the City Coun-
           cil, under a penalty of ten dollars for each offense.




                                                                        FFXCO_12850
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 21 of 144 PageID# 2310




              240                  REVISED   ORDINANCES



                   SEC. 23. Publz"c Parks shall be known by their respective
              names. The several Public Parks, Squares and grounds in the
              City of Canton shall be known and designated by the names
              applied thereto respectively on the map of the City of Canton,
              that may be designated by ordinance.
                   SEC. 24. Care of parks.      It shall be the duty of the
              Committee on Parks and Public Buildings of the City Council
              to superintend all public grounds and keep the fences thereof
              in repair, the walks in order, and the trees properly trimmed,
              and improve the same according to plans approved by the
              City Council. The said committee shall likewise cause: printed
              or written copies of prohibitions of this article to be posted in
              the said Parks or Grounds.
                   SEC. 25. Regulations of Parks.       No person shall enter
              or leave any of Public Parks of the City of Canton except by
              their gateways; no person shall climb or walk, sit or stand
              upon the walls or fences thereof.
                   SEC. 26. Depredations not to be committed in Par/es.
              Neither cattle, horses, goats, swine or ·annimals, except as
              herein specified shall be turned into any one of the said Parks
              by any person. All persons are forbidden to carry firearms
              or to throw stones or other missiles within any one of these
              Public Parks.    All persons are forbidden to cut, break or in
              any way injure or deface the trees, shrubs, plants, turf or any
              of the buildings, fences or other structure,         or property
              within or upon any of the said Parks.
                   SEC. 27. Bills are not to be posted in Parks.      Jo person
              shall post or otherwise use or affix any bills, notice. or other
              paper upon any structure or thing within either of said Parks
              nor upon any of the gates nor enclosures thereof.
                   SEC. 28. Persons in Par/is mu t keep off tile grass.      No
              per on shall go upon the gras , lawn or turf of the Park ex-
              cept when and where the word '' common '' is po ted, indi-
              cating that persons are at liberty at that time and place to go
              on the grass. Any member of the city p lie ·hall have the
              power to arrest any person who shall 11 t 1 si t from any vio-




                                                                     FFXCO_12851
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 22 of 144 PageID# 2311




                               REVISED   ORDINANCES.                       241



        lation hereof when directed, and cause him to be committed
        for examination or be taken before the proper officer for trial.
              SEC 29. Penalt)'. Any person who shall violate any or
        either of Sections 25, 26, 27 or 28, of this Chapter, or
        whoever      hall neglect or fail or refuse to comply with any or
        either of the requirements thereof, shall upon conviction pay
        a fine of not les than five dollars nor more than two hundred
         dollars.
              SEC. 30.      idewalks slzall be constructed by special taxation.
         All new sidewalks and condemned sidewalks shall be con-
        structed by special taxation, levied upon abutting land owners,
         and it shall be the duty of said land owners, whenever the
         same becomes defective or needs repair , to repair the same
         without notice and keep the same in repair, using the same kind
         of material of which the walk is constructed.
               SEC. 3 I.  A butting property owners sltall repair sidewal!is.
         Whenever any sidewalk in said City shall need repairs, the
         abutting land owner shall make the needed repairs; and if any
         owner shall fail to repair the same, the Street Superintendent
         shall give such owner three <lays notice to repair, and
         shall file a copy of the said notice with the City Clerk;
         and upon such owner failing or refusing to repair the same,
         an ordinance shall be passed to repair, renew or condemn the
         same and shall require the same to be constructed by special
         taxation; which ordinance shall be passed according to law,
         for such purpose.
               SEC. 32. Defective sidewalks.        Whenever any sidewalk
         shall not be repairable, an ordinance shall be passed con-
         demning such defective sidewalk and requiring the same to be
         rebuilt by special taxation;    and new sidewalks shall be built
         by like taxation.
               SEC. 33. vV!taf ordinances s!iall specify. All ordinances
         shall provide and specify the material which shall be used in
         such construction or repair, and the width and location of
         the same. and that the owners of abutting lands shall have the
         time allowed by law to build and construct the same, and in
         all other respects said ordinance shall conform to law.
            16




                                                                             FFXCO_12852
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 23 of 144 PageID# 2312




    EXHIBIT 33



                                                              FFXCO_12853
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 24 of 144 PageID# 2313




                          LOCAL                      AO'l,S
                                               (JF




        TH·E LEGISLATURE
                                          OF THE




                     STATE          OF MICHIGAN
                                      PASSED     AT THE




             REGULAR                SESSION               OF          1895

                                WITH AN APPENDIX




                                 BY AUTHORITY




                                      LANSING
                    ROBERT SMITH & CO., STATE PRINTERS AND' BINDERS
                                          1895




                                                                             FFXCO_12854
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 25 of 144 PageID# 2314




                       LOCAL ACTS, 1895.-No. 436.                                  591

        tion (so called), and also all that part of said city lying and
        being east of the east bank of the Au Sable rivt:lr, be and the
        same is hereby detached from the city of Au Sable, in said
        county of Iosco, State of Michigan, and the same shall be, and
        is hereby attached to the township of Au Sable in said county
        and State aforesaid. But the territory hereby detached shall Terrtton <1e-
                      • d ID
        no t b e re l rnve • any manner f rom 1't s Just
                                                    •    s h are an d propor- tacbedsballnot
                                                                              be reueved 01
        tion of the present legal bonded indebtedness of said city of :!~!?~~~g!.i
        Au Sable, together with interest thereon, and said indebted- tndebtedneBB,
        ness shall be apportioned in accordance with the provisions of
        act number thirty-eight of the session laws of eighteen hun-
        dred and eighty-three, approved April twenty-first, eighteen
         hundred and t:lighty-three, entitled "An act to provide for the
         adjustment of rights and liabilities on division of territory of
        cities and townships," and acts amendatory thereof.
            SEC. 2. This act shall not be construed as nullifying or This act not to
        repealing an act entitled ··All act to incorporate the board of ~!~~:~;~:1~
         oducation of the city of Au Sable," being act number two t~e tx;t            rd01

         hundred and eighty- five of the local acts of eighteen hundred e aca on.
        and ninety-one, and the persons elected as mem hers of such
        board of education under the provisions thereof shall continue
        to have and exercise all the duties, powers and jurisdictions
        -0onferred upon them by the provisions thereof, within the ter-
         ritory and district in which their jurisdiction now extends.
            SEC. 3. The matter of proced □ re in the matter of appor- Procedure to
         tioning, levying and collecting taxes for the support of tht:l !~:e~atteror
         schools within said district, and for altering the boundaries
         thereof, shall be the same as near as may be as is provided by
         law in the case of fractional school districts.
            Approved May 24, 1895.



                                   [ No. 43G.]
        AN ACT to amend an act entitled .. An act supplemental to
          the charter of the city of Detroit, and relating to parks,
          boulevards and other public grounds in said city, and to
          repeal act number three hundred and seventy.four of the
          local acts of eighteen hundred and seventy-nine, entitled
          •An act to provide for the establishment and maintenance of
          a broad street or boulevard about the limits of the city of
          Detroit and through portions of the townships of Ham-
          tramck, Greenfield and Springwells, in the county of Wayne,'
          approved May twenty-one, eighteen hundred and seventy.
          nine," as amended by act num her four hundred and fifteen
          of the local acts of eighteen hundred Rnd ninety-three,
         .approved May twenty-ninth, eighteen hundred and ninety-
          three, by amending sections six, seven and fourteen thereof,
         .and to add to said act twenty new sections to stand RSsec-
         tions thirty-two, thirty-three, thirty.four, thirty.five, thirty-




                                                                               FFXCO_12855
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 26 of 144 PageID# 2315




        592                          LOCAL ACTS, 1895.-No. 436.

                       six, thirty-seven, thirty.eight, thirty-nine, forty, forty-one,
                       forty.two, forty-three, forty.four, forty-five, forty-six, forty.
                       seven, forty-eight, forty-nine, fifty and fifty.one of said act.
        Act amended            SECTION 1. The People of the State of Michigan enact,
        ~:e~~cuons         That 11nact entitled "An act supplemental to the charter of
                           the city of Detroit, and relating to parks, boulevards and pub-
                           lic grounds in said city, and to repeal act number thretl hun-
                           dred and seventy.four of the local acts of eighteen hundred and
                           seventy-nine, entitled 'An act to provide for the establishment
                           and maintenance of a broad street or boulevard about the limits
                           of the city of Detroit and through portions of the townships of
                           Hamtramck, Greenfield and Springwells, in the county of
                           Wayne,' approved May twenty-one, eighteen hundred and
                           seventy-nine," as amended by act num her four hundred and
                           fifteen of the local acts of eighteen hundred and ninety-three,
                           approved May twenty-nine, eighteen hundred and ninety-three,
                           be amended by amending sections six, seven and fourteen
                           thtlreof, and by adding twenty new sections to stand as sec-
                           tions thirty-two, thirty-three, thirty-four, thirty.five, thirty.
                           six, thirty-seven, thirty-eight, thirty.nine, forty, forty-one,
                           forty.two, forty-three, forty.four, forty-five, forty-six, forty.
                           seven, forty-eight, forty-nine, fifty and fifty-one, to read as
                           follows:
        Commissioners         SEC. 6. The commissioners shall have the control and man-
        :::i::,a:;e:~!!~1• agement, and shall have charge of the improvement of all the
        antmd<tiarge 0 f f parks and public grounds of said city, including       the island
           provemen1eo
        anparksand         park (known as "Belle Isle park"), and of such parks or pub-
                    nd
        pubUcgrou "· lie grounds as may hereafter be acquired, laid out, purchased
                           or dedicated for public use in said city. A.nd they shall like-
                           wise have control, management and charge of the improvement
                           and maintenace of the boulevard, which was laid out and estab-
                           lished as provided by the (said) act creating said board of
                           boulevard commissioners, and of anv other boulevard which
                           may at any time be hereafter acquired, laid out, established or
                           located by said city. The authority hereby conferred shall not
                           be construed as giving charge or control to said commissioners
                           over and to the improvement of any ordinary public street or
        Wben Improve- alley.        When the estimated cost of any work or improvement
        ments to be
        done bJ con-       ordered by said commissioners shall exceed the sum uf one
        tract.             thousand dollars, the same shall be done by contract, after
                           advertisements for bids in at least two daily papers, printed in
                           said city, for at least Btlven days.
        Ma1ma11:e rn1es       SEC. 7. The said commissioners may make all needful rules
        ~rd:1t!!1:n~e      and regulations for the management, maintenance and care of
        and care of.       the said parks, public grounds and boulevard or b:rnlevards,
                           and for the regulation thereof, and the common council of said
                           city may provide by ordinance for the observance of the same,
                           and may also in like manner provide for the observance and
                           enforcement of any other rules and regul11tions dul.v made by
                           said commissioners under any of the provi3ions of this act.
        Protection of.     And said common council may by ordinance further provide
                           for the preservation and protection of the parks, public grounds




                                                                                   FFXCO_12856
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 27 of 144 PageID# 2316




                         LOCAL ACTS, 1895.-No. 436.                                       595

        notice or bHI or other writing or printing on any tree, tower,
        lamp post, hydrant, curbstone, coping, flagstone, fence, dock,
        bridge, wall, building or other place under tlie charge or con-
        trol of said commissioners.
           SEO. 38. No person shall drive any vehicle displaying any Not to drive
        placard or advertisement of any kind along said boulevard or ::,:!e~~:ti::!·
        on or along the driveway of any of said parks, nor shall any p1acardsa1ong
                  , l ay any p l acar d or any ad var t·1semen. t of any k,ID d the
        person d 1sp                                                                 parks or
                                                                                boulevards.
        on or upon or along the said boulevard or any of the said parks
        for advertising only.
           SEC. 39. No person shall dig, remove or carry away any Nottodlg,re-
        sward, sand, turf or earth in or from any public park, or boule- ;:i;:;       ~~~rd
        vard, and no person shall open or dig up or tunnel under any sand or turr '
       part or portion of the boulevard without a permit from the rromparkB.
       commissioners of parks and boulevards, and before granting any
        such permit the applicant therefor shall be required to deposit
        with the secretary of said commissioners such sum of money as
       the superintendent of the boulevard or such other officer as the
       commissioners may designate for that purpose, shall estimate,
        will fully cover any expense to be incurred by the commis-
       sioners in connection with such opening or tunneling, and the
       commissioners may make suitable regulations and conditions
       with respect to issuing said permits. And said commissioners
       may retain the actual expense, which shall be certified by the
       superintendent, which may be incurred by the commissioners
       in connection with any work done by them, for the purpose
       of restoring any roadway, sidewalk, planting place or other
       portion of said boulevard, and the secretary shall refund to the
       person to whom said permit shall be issued the difference, if
       any, between the amount deposited and the amount so certified
       by the superintendent.      Carriage or driveways and footwalks
       connecting with any premises adjoining the boulevard, or
       bitching posts thereon, shall be allowed only on a permit issued
       under this section, and the material used in making such ways,
       walks or posts shall be determined by the said commissioners.
           SEC. 40.    No person shall place ·or deposit any dead carcass, Not to deposit
       ordure, filth, dirt, stone, ashes, garbage or rubbish of any ~ft::1            ~~s,
       kind, or other matter or substance on the said boulevard, or of s:;n;,.;J~-,on         d
       any of said public parks, and no person shall wade into or ~,8P~""~•a•
       throw any wood, sand, stone, or other substance into any
       basin, pool, lake or fountain in any public park, or bathe or
       fish in any of the waters thereon, except on Belle· Isle park,
       where persons may bathe and swim, but only under such
       restrictions and conditions as may be prt,scribed by the com-
       missioners of parks and boulevards; and no person shall a.end
       or ride any animal into same, nor shall any person kill, molest
       or disturb any fish, fowl or animals kept thereon.
          SEC. 41.     No person shall build or place any fence, or other Not to build an1
       barrier around any grass plot or planting place on said boule- ~~~~~~•;::er
       vard or public park, or place any building or obstruction of P10181°•Plant-
              . d th ereon.
       any k ID                                                                 Ing Pace.

          SEO. 42.    No person shall play at any game whatever in or Not to p1a1 cer-
       upon said boulevard, or on any of the said parks, under the ta1n games.




                                                                                      FFXCO_12857
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 28 of 144 PageID# 2317




         596                            LOCAL ACTS, 1895.-No. 436.

         Proviso,             charge of the said commissioners:         Provided, however, That
                              ball, cricket, lawn tennis and other like games of recreation
                              may be played upon such portions of said parks as may be des-
                              ignated from time to time by the commissioners and under such
                              rules and regulations 83 may be prescribed by them.
         Nottoengageln           SEC. 43.     :So person shall engage in any sport or exercise
         ~~g~t':~b~~r!.~s. upon said boulevard or park as shall be liable to frighten
                              horses, injure travelers, or embarrass the passage of vehicles
                              thereon.
         Nol to discharge        SEC. 44. No person shall fire or discharge any gun or pistol
          nrearme or
         11rewor1<s.         or carry firearms, or t h row stones or other missi l es within sa1'd
                              park or boulevard, nor shall any person fire, discharge or set
                              off any rocket, cracker, torpedo, squib or other fireworks or
                              things containing any substance of any explosive character on
                             said park or boulevard, without the permission of said commis-
                             sioners, and then only under such regulations as they shall
                              prescribe.
         No person shall         SEC. 45.     No person shall expose any article or thing for
         =:':~f;    :!:•
                    1        sale or do any hawking or peddling in or upon said parks or
         ' h1ng rorsa1e , boulevard, and no person, without the consent of said com-
         p 1a1 an1 mus 1ca 1    • •
         1nstrnment,etc., m1ss1oners, s a
                                              h 11 pay
                                                    l upon any mus1ca       . trumen t, or carry
                                                                       . l ins
         ::~~~~~!! or display any flag, banner, target or transparency, nor shall
         sioners.            any military or target company, or band or procession parade,
                             march, drill or perform any evolution, movement or ceremony
                             within any of said parks, or upon or along said boulevard,
                             without the permission of said commissioners, and no person
                             shall do or perform any act tending to the congregating of per-
                             sons on said boulevard or in said parks.
         Gambling and            SEC. 46. No person shall gamble, nor make any indecent
         disorderly
         conduct,            exposure     of himself or herself, nor use any obscene language,
                             or be guilty of disorderly conduct, or make, aid. countenance
                             or assist in making any disorderly noise, riot, or breach of the
                             peace, within the limits of the said parks or boulevards; and
         Inlo:tlcatlng       no person shall sell or dispose of any intoxicating liquors in or
         liquors,
                             upon any public park without the consent of the said commis-
                             sioners.
         All boats, car-         SEC. 47. All boats and vessels, carriages, railroad cars and
         riages, railroad
         care, and vehl-     other    vehicles running for hire to and from said Belle Isle
         clee running
         for b Ire to be
                             park,   or  any other park, shall be duly licensed and shall be
         licensed,           subject to all the rules and regulations that may be established
                             by said commissioners or by the common council from time to
                             time, and no person shall carry on the business of carrying
                             passengers to and from either of said parks unless their vehi-
                             cles shall be so licensed. And no person commanding or hav-
                             ing charge of any boat, carrying p'lssengers for hire shall land
                             or permit any passengers thereform to land at any dock on
                             Belle Isle park, excepting such as may be designated for that
                             purpose by the commissioners, and no person having charge of
                             any vessel shall fasten or tie the same at any wharf or dock in
                             Belle Isle park, excepting for the purpose of receiving or dis-
                             charging passengers as permitted by this section.
                                SEC. 48. No person shall place or deposit or allow to be
                             placed or keep or deposit on any part of said boulevard any




                                                                                       FFXCO_12858
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 29 of 144 PageID# 2318




                       LOCAL ACTS, 1895.-No. 436.                                 597

        building material without the written permission of said com- Not to depoatt
        m1ss10ners, which permit shall state the space to be occupied ~;::t:,::i:,.~~':rt
        and the length of time during which said permit shall be in °r11bbou1e1vartrd11
                                      • use of any portion
        f orce, an d every person h avmg                 • of sa1"d b ou le- wpermission
                                                                                   OU w
                                                                                          or
                                                                                            en
        vard for the purpose of erecting or repairing any building or commissioners.
        for placing or keeping any building material or any other arti-
        cle or thing thereon which shall cause any obstruction to travel
        thereon or render the same in any respect dangerous to travelers
        thereon, shall cause two red lights to be placed in conspicuouR Red lights to be
        places, one at the end of said obstruction, from sunset until ~~~;!~u~nP'i°~s.
        sunrise in the morning of each day during the time such
        obstruction shall remain, and shall also construct and maintain
        proper safeguards, and a good and safe plank sidewalk around
        such obstruction, which sidewalk shall be at least two feet
        wide, and no such permit shall be granted under this section
        unless in the application therefor the party applying shall
        agree to indemnify the city against all liability from injury to
        any person or property arising from such obstruction.
            SEC. 49.    No person shall conduct or permit any funeral Funeral proces-
                 • or h earse t o b e d riven
        procese1on                       •    •
                                              upon  th e b ou levar d : p ro- slonsnolllodrlve
                                                                              on boulevard,
        vided, That nothing herein contained shall be construed to Provtso,
        prevent the removal of any corpse from any house abutting
        upon said boulevard, and the forming of the funeral procession
        thereon, but the hearse or procession shall not proceed further
        thereon than the nearest paved cross street in the direction in
        which said hearse shall move.
            SEC. 50. No person shall remove any house or building on, Not to remove
        along or across the boulevard, except OD the written permission ~r1:i':.~o~'or
        of said commissioners, which shall be issued only upon such a1°i: 1~~bote-
        terms and conditions, and under such regulations as they may ~ar~tt:,. P:::n1s-
        prescribe, and upon a deposit with the secretary of said com- ':!~s::u:~-
        missioners of such sum as may be fixed by said commissioners,
        and as they shall estimate will fully cover all damages to
        wulks, roadways, grass plots, trees and other property and
        improvements of said boulevard, and said permit shall be
        issued only upon the express condition that said moving shall
        be commenced and completed between the hours of one and
        six o'clock in the forenoon, and the occupancy of the said
        boulevard shall continue only between said hours and after
        said moving shall have been completed, the roadway, grass
        plot, walks and other property and improvements shall be
        restored to their former condition by the said commissioners
        or under the supervision of their superintendent, and their
        superintendent shall thereupon certify to the secretary the
        actual expense incurred in such restoration, and the secretary
        shall refund to the person to whom said permit shall be issued
        the difference, if any, between the amount deposited and the
        amount so certified by the superintendent.
            SEC. 51.    Any violation of the provisions of this act shall Peua111ror
        be punished in the recorder's court by a fine not to exceed violation,
        one hundred dollars and costs, and, in the imposition of any
        fine and costs, the court may make a further sentence, that the
        offender be imprisoned in the Detroit House of Correction




                                                                              FFXCO_12859
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 30 of 144 PageID# 2319




        598                          LOCAL ACTS, 1895.-No. 437.

                    until the payment of such fine, for any period of time not
                    exceeding six months.
                      This act is ordered to take immediate effect.
                      Approved May 24, 1895.




                                                [ No. 437. ]
                    AN ACT to amend sections two, five, seven and eleven of act
                     number three hundred eighty-three of the local acts of eight-
                     een hundred ninety-three, entitled '·An act to provide for
                     the election of two justices of the peace and for the appoint-
                     ment of a justice clerk in and for the city of Saginaw, and to
                      define their jurisdiction and to fix their compensation; and
                     to abolish and discontinue the five offices of justice of the
                     peace of said city, upon the expiration of the terms of the
                     present inc um bents thereof; and to provide for the filing of
                     the files, records and dockets belonging to or appertaining
                     to the offices abolished and discontinued, and for the issu-
                     ance of executions upon judgments appearing on said dockets
                     and to repeal all provisions of the charter of the city of Sag-
                     inaw and of all other acts or parts of acts in any wise contra-
                     vening the provisions of this act," approved May thirteenth,
                     eighteen hundred ninety-three.
        Sections            SECTION 1. The People of the State of Michigan enact,
        amended,
                         That sections two, five, seven and eleven of act number three
                         hundred eighty-three of the local acts of eighteen hundred
                         ninety-three, entitled "An act to provide for the election of
                         two justices of the peace, and for the appointment of a justice
                         clerk in and for the city of Saginaw, and to define their juris-
                         diction and to fix their compensation, and to abolish and dis-
                         continue the five offices of justices of the peace of said city,
                         upon the expiration of the terms of the present inoum bents
                         thereof, and to provide for the filing of the files, records and
                         dockets belonging to or appertaining to the offices abolished
                         and discontinued, and for the issuance of executions upon
                         judgments on said dockets, and to repeal all provisions of the
                         charter of the city of Saginaw and of all other acts or parts of
                         acts in any wise contravening the provisions of this act,"
                         approved May thirteenth, eighteen hundred ninety-three, be
                         amended so as to read as follows:
        Justices to have    SEC. 2. The said justices of the peace for the city of Sagi-
             0
        :::,i::
              J%':i1~s   new shall have the same jurisdiction and powers and perform
        or townships,    the same duties as are now exercised and performed, or may at
                         any time hereafter be conferred by law upon justices of the
        Jurisdiction or peace for townships, together with jurisdiction in civil cases,
        civil cases,     where either of the parties to any such action reside in the
                         county of Saginaw, and such further jurisdiction as may be
                         provided by statute. In oases of examination of offenders by
                         either of said justices, for offenses committed against the crim-




                                                                                 FFXCO_12860
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 31 of 144 PageID# 2320




    EXHIBIT 34



                                                              FFXCO_12861
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 32 of 144 PageID# 2321




                                      'fHIE             =:J'


          CENTRALIA
               CITYCODE.
          COMPRISING--

                         ORIGINAL     CHARTER     AND AMENDMENTS,
                         THE LAWS OF THE STATE OF ILLINOIS
                         RELATING     TO THE GOVERNMENT           OF


          THE             CITY             OF CENTRALIA,
                         GENERAL     ORDINANCES,
                         SPECIAL    ORDINANCES         AND
                         ILLINOIS CENTRAL RAILROAD CONTRACT.


                         -----=============:.-=-
                                        ____:_
                                             __ _
          REVISED   AND CODIFIED    RY--

          Frank      F. Noleman and William                    F. Bundy,
                                   Attorneys at Law.




            PUBLISHED      BY AUTHORITY       OF THE CITY COUNCIL.




                            ~ 16G6. ~




                                                                       FFXCO_12862
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 33 of 144 PageID# 2322




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                       ,
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                       ,
                             CENTRALIA, ILLINOIS.

                           PR lNTF,D   BY THE
                                                       #
                                                CEN'l'R.\I,IA D.\ILY
                                                                       ,
                                                                       ,
                       ,         SENTI"NEL-T.    L. JOY & CO.          ,



                       ,
                       ,                    1896.

                   "'"""'"'"'"'"'"'"'"""'"'"'"'"""'"""'~               '
                                                                       '




                                                                           FFXCO_12863
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 34 of 144 PageID# 2323




           188



                              < 'TI L\PTER       XXXTH.
                                        PARKS.

               367. Central Park.]      s I. That block 113 in the Rail-
          road Addition to said city shall be called and hereafter known by
          the name of Central Park.
                368. Unlawful to Cut Grass, etc.] s 2. That it shall
           not be lawful for any person to enter upon and cut or remove
          any grass or other article from Central Park without pen11is-
          sion from the proper officer; nor to turn into said park any
          cattle, horses, hogs, or other animals; nor to hitch, fasten, or
          tie any animal whatever to any tree, fence or gate around the
          same; nor to cut, break. or deface the trees or fences around said
          park; nor to cut, injure, climb upon, break, b~nd, or destroy any
          tree, shubbery, plant, or ornament, or the boxing or railing
          around the same, growing or being in said park.        Any person
          violating any of the provisions of this section shall be fined
          in any sum not less than ten do11ars nor more than one hundred
          dollars for every offense.
                369. Offenses. J 9 3. All persons are forbidden to carry
          firearms, or to throw stones or other missiles in said park.     All
          persons are forbidden to cut, break, or in any way injure or deface
          the trees, shrubs, plants, turf, or any of the buildings, fences, or
          other constructions, or property within or upon the said park. No
          person or persons shall lounge or loiter in said park after eleven
          o'clock of any night, nor shall any person or persons do therein
          any obscene or indecent act. Any person violating any of the
          provisions of this section shall be fined in any sum not less than
          ten dollars nor more than one hundred dollars.
               370. Committee on Public Orounds to Have Clfarge of.]
          s 4. It shall be the especial duty of the Committee on Public
          Grounds to care for said Central Park and to see that the rules
          concerning the same are strictly enforced. S'.lid committee shall
          see each spring that said park is supplied with suitable seats or
          benches, and that the same are painted and placed therein:




                                                                         FFXCO_12864
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 35 of 144 PageID# 2324




                                PERJ\I lSSlOX   'l'O l!SE   1',\RK.


            recommend to the City Council any new seats or other property
            required, and purchase the same under the instructions of the
            City Council. Said committee shall see that said park is kept free
            from hrnsh and weeds, that the grass and trees are properly
            trimmed, and in the fall remove all benches and other properly
            of a movable nature, likely to suffer from exposure, to suitable
            cover.
                371.    Permission to Use Park.] s 5. The Mayor shall
            have the power to grant permission for the use of the said park,
            and all parties desiring the use of the same for any public
            gathering shall make application to the Mayor, stating the
            character of the meeting or assembly proposed to be held, and if
            such proposed meeting is not likely to disturb the peace and good
            order of the city, or the neighborhood, and is of a moral character,
            he shall thereupon grant such permission: Provided, however, no
            permission granted by the Mayor for the holding of meetings or
            assemblies in said park shall protect the individuals so assembled
            from prosecution for the violation of any of the laws of this city.




                                                                         FFXCO_12865
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 36 of 144 PageID# 2325




    EXHIBIT 35



                                                              FFXCO_12866
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 37 of 144 PageID# 2326



                                    REVISION                 OF          1904·



                                                  THE



      GENERAL ORDINANCES.                         tt-




                                                   OF THE




                CITY OF INDIANA
                        'I~ •
                                POLIS,· '
                                             CONTA[NING,          ALSO




      ACTS OF THE INDIANA GENERAL ASSEMBLY
                              SO FAR AS THEY CONTROL                     SAID CITY


                                        TO    WH [CH IS PREFIXED



               A CHRONOLOGICAL                          ROSTER OF OFFICERS
                                         FROM      1832 TO 1904



          AND RULES GOVERNING                             THE COMMON                     COUNCIL



     Collated and Annotated by Edgar A. Brown and William W. Thornton, Commissioners.




           PUBLISHED    BY AUTHORITY               OF THE CITY                   OF INDIANAPOLIS.




                                              INDIANAPOLIS
                              WM.   B. BURFORD,         PRINTER     AND    BINDEi\_
                                                    1904



                                                                                               FFXCO_12867
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 38 of 144 PageID# 2327


           648                                    ORDINANCES.                              1968-1975 •

           AN ORDJNANC}:: t·egulatiug the use a,nrl enjoyment of parks, park grou11ds and pad<ways
             of the City of Indianapolis, providing penalties for the violation of the same, repealing
             all conflicting ordinances, providing for the publication thereof, and fL"\'.ingthe time wbe11
             the same ;;ball ta,ke effect.
                                             [Approved June 30, 1896.)
               1968. When Open for Public--Entrance; 1. Be ,it orclainecl by the
            Common Coiincil of the City of Incl-iana.pol1:s,Incl,iarw, That the parks
          - shall be open to the public from 5 :00                a.
                                                         m. unti.l 11 :00 p. m.,_ and
            no person-other than emp]oyes shall be permitted to remain therein,
            except when open as herein specified, and no person at any time
            shall enter or leave any park except by the established entrances,
            walks or drives.         •
               1969. Writing on Pa:rk Buildings, etc. 2. No person shall ·write,
            cnt, mutilate or deface in any manner any ..building, fence, bench,
            masonry, statue, ornament, or tree in any public park.-
               1970. Injury to Flowers or Trees. 3. No person shall_ pull, pluck,
            break or touch any flo·wers or fruit, whether wild or cultivated; cut ,
            dovvn, girdle or break down any sapling, tree, shrub or plant; break
            or bend limbs or branches of tree~ or bark trees;· or be_nd, pluck,
            handle or injure any trees, flowers, shrubs or plants whatever, or -
            limbs, twigs or leaves thereof, or climb any tree in any public park. '
               1971. Discharging Fire-Arms. 4. No person shall discharge any
            fire-arm, or have possession of any fire-arm within the limits of any
            public park.
               1972. Use of Profane or Abusive Language. 5. No person shall
            use profane, obscene, threatening or abusive language, or fight or
            throw any stone or missile, or behave in a disorderly or improper
            nuu1ner, or commit any offense against decency or good morals in
            any public park.
               1973. Starting Fire in Park-Molesting Animals. 6. No person
            not an employe shall make a fire for any purpose within the bounds
            of any park; _and no person shall chase, catch, injure, nrolest or
            disturb any animal, bird or fish kept within any public -park for the
            use, instruction or entertainment of the public, nor shall any person
            give or offer to give any such animal tobacco or .other noxious
            article.
               1974. Animals or Fowls Trespassing on Parks. 7. No person
            being the owne1· or having control of the same shall suffer or permit
            any chickens, ducks, geese, hogs, cattle, horses, sheep, or goats; or
            other animals or fowls to stray into, run at large or trespass upon
            any public park land.
               1975. Fastening Horse to Tree. 8. No person shall fasten a horse
            to a tree, or bush, or building, or leave the same unattended, or l~e
            perinitted to bring or lead horses ·within the limits of any public
            park, or a horse that is not harnessed and attached to a vehicle or
            mounted by a rider.




                                                                                          FFXCO_12868
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 39 of 144 PageID# 2328




    1976-1984                       PARKS.                               F'-19

        1976. Wagons in Forbidden-Standing            on Driveways. 9. All
     -rehicles other than pleasure carriages, as distinguished from wagons,
     cal'ts and drays, are prohibited within any public park, except when
     employed in the business of said parlrn; and no vehicle or horse
     shall be permitted to stand upon the drives or ani part thereof to
     the obstruction of the viay.
        1977. Bicyclers. 10. Bicyclers and tricyclers shall be strictly
     confined to the roadway, of tlrn public parks, and be controlled by
    the same rules which goYern horsed vehicles and e tue.·t1·ians, and
     must keep and pass to the right ,Yhen meeting the same. ,i\Then
    passing a carriage or equestrian from the rear to the front it must
     be done on the left side, and at a speed not to exceed four miles
    per hour. Bicyclers and tricyclers must not travel more than two
     abreast, nor without displaying a light in front if it be one-half
    hour after ·unset, and carrying regular bicycle or tric~'cle bells at all
    times.
        1978. Carriages Passing Each Other. 11. When carriages, eques-
    tl'ians or cyclers meet, the shall respectively keep to the right.
        1979. Riding or Driving on Grass. 12. No person shall ride or
     clriYe upon the grass, footways or elsewhere than on the roads for
    the use of carria 0 ·e ·, eque, trians and cyclers.
        1980. Speed for Driving. 13. No person shall l'ide or. drive a
    110rseor cycle faster than at the rate of six miles an hour.
        1981. Picnics-Permits-Cleaning          Up Debris. 14. No picnic
    shall take place in any public park without a written permit of the
     Superintendent, in which shall be designated the place where it is
    to be held. Picnics permitted for Sunday and secular schools must
    always be accompanied by their respective teache1·s and masters,
    who will be held personally responsible for all infringements by
    the scholars of these rules and regulations.      No person shall intrude
    J1im or herself upon a picnic witho-ut consent of those in charge of
    it, nor disturb any picnic within said parks. Parties holding picnics
    in the said parks must clean up the ground that has been occupied
    by them, on quitting it, and remove all paper and littei·.
       1982. Sleeping in Parks-Begging-Games.            15. No person shall
   be allowed to sleep on the benches or gTass of any public park, nor
   to beg:, to tell fo1·tunes, to play at an)· game of chance, or with any
   instrument of gamino· therein, and gambling in any form and play-
   ing cards is prohibited in the public parks.
       1983. Use of Liquors Prohibited.       16. No person ,·hall introduce
   spirituous, malt or fermented liquors into any public park, either
   for his own use ·or for sale, nor use, sell or give away the same.
       1984. Dogs. 17. No person shall bring a clog into any public
   park.


                                                                        FFXCO_12869
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 40 of 144 PageID# 2329
                             '   I   •




           (if10                         0RDIN ANCES.                   1985-1995
                                                        '
               1985. Parades-Drills-Meetings.        18. No military, civic ior other
            company shall be pe;rmitted to· parade, drill. or perform within any
            park any military e;rolutions or movements without-the co~sent of
            the Park Commissioners, and no pub]ic meetings or public discus-
           s-ions of any subject, religious, social, politiGal, or of any other kind,
           shall be held within the limits of any park without the consent of
           the Park Commissioners.                                                '
              •1986. Funeral Procession. 19. No funeral procession, or hearse,
           nor any vehicle canyi-ng the body of a deceased person, shall be
           allowed within any park.
               1987. Bringing Trees Into Park-Advertisement.           20. No person
           other than employes shall ·bring upon any park any tree, shrub or
           plant, nor any newly plucked branch or portion of tree, shrub or
           plant; and no person shall paint, post or otherwise affix any bill
                                                                                 •  '
           notice, sign, or other paper or sign upon any structure or thing
           ·within the parks nor upon any of the gates in-the enclosures thereof
               1988. Walking on Grass. 21. No pe~·sou shall go upon the grass,
           lawn or turf of any parks where the sign inscribed "Keep Off the
           Grass'' has been posted by the Superintendent.
               1989. Watermelons. 22. All persons are forbidden to· carry
           ·watermelons into any park.
               1990. Bathing-Fishing-Disturbing·        ,Animals. 23. No person
           shall bathe, wash or fish in, 01· go or send or i·ide any animal into
           any ·waters of any park, nor feed or disturb any of the fish, water
           fowls or other birds or animals preserved therein; or th_row stones
           or rubbish of any kind into any lake, pond, stream or fountain, or
           any roachvay of any public park.
               1991. Playgrounds. 24. Portions of the parks inay be set aside
           by the Superintendent for ball, croquet, golf or other games, and
           where any such portion of any park is set apart for any games, as
           aforesaid, no game of baseball shall take place without the written
           consent of the Superintendent,      and no person shall practiee ball
           or intrude himself upon the players on the space so set apart while
           a game 1s m progress. (As amended June 24, 1904.)
              1992. Hammocks. 25. Hammocks, except for the use of babies,
          shall not be permitted within the pR.rks. In such cases permission 1
          must be obtained from .the Custodian, who will designate the tr~es
          to which the hammock may be attached.
              1993. Removal of Benches. 26. No benches or seats shall at any
          time be removed or changed from their place in the said parks
          without perniit shall be obtained from the Superintendent.
              1994. Swings. 27. No person shall attach a swing to any tree
          withjn any public park ·without the consent of the Superintendent.
              1995. Sales Within Park. 28. No person shall sell or off_erfor
          sale any article whatever within any public park without first hav-
          ing obtained written consent of the Board of Park Commissioners.


                                                                       FFXCO_12870
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 41 of 144 PageID# 2330

                                   -
       1996-2003                              PA,YN-BEOKEBS.                                          G51

          1996. Intoxication. 29. No intoxicated person shall be permitted
       in any public park.
          1997. Entering Water Closet of Opposite Sex. 30. No person
       of opposite sex shall enter any water closet set apart for ladies nor
               any -improper
            .
       u.-e m       .
                              v1rayany wa.ter closet.
                                                                        '
          1998. Penalty. 31. An:v person violating any of the provisions
       of this ordinance shall, upon conviction thereof, be fined not less
       than five (*5.00) dollars, no1· more than one hundred ($100.00)
       dollars
          1999. Officers Given Police Powers. 32. Officers or employes of
       the Yarious parks are in po,nr [ empowered] to enforce the rules
       and regulatio11s as herein set forth, and summary [summarily]
       to arrest and judge violators thereof.
          2000. Repeals. 33 .. All ordinance.· and parts of ordinances in
        conflict with this ordinance are hereby repealed.
          2001. Publication. 34. This ordinance shall take effect and be
       in force from and after its passage and publication one day each
       week for two consecutive weeks in the Sun, a daily newspaper of
        general circulation, printed and published in the City of Indian-
       apolis.
                                             PAWN-BROKERS.
       _<\NORDL'\T.ANC'E to license and regulate pawn-broker:;; defining and declaring who shall
          be deemed pa,Yn-brokers; fixing the license fee therefor; pro,-icliug for the keepi;ng of
          lists and descriptions of a,rticle.· pledged or deposited with pawn-hroker,;; for the inspec-
          tion of such lists and articles; the registering       of the names and residences of depos-
          itor:;, a.ncl presc1·ibing penalties; also proYicling fur the publicrition of sairl ordinance and
          the time when the :'ame shall take effect.
                                           [Appro,ed KoYemlJer 27, 1893.]
          2002. License-Definition-Fee.         1. Be it o1'dainedby the Cornman
        Council of the 01·ty of Indianapolis, That it ·hall be-unlaivful for any
        1)erson to engage in or continue in the business of a pawn-broker
        in said city, unless such person shall have first paid the license fee
        to the City Treasurer and procured the license as a pawn-broker
        as in this ordinance prescribed. Every person ·whose business it is
        to take or receive by way of pledge, pawn, or exchange, any goods,
        wares or merchandise·, or any kind of personal property whatsoever,
        as a security for the repayment of money lent thereon, or who
        purchases personal property or choses in action, on the condition
        of selling the same back again at a stipulated price, is hereby
        defined and declared a pawn-broker, and shall pay to the City Treas-
        urer an annual fee of one hundred dollars.
          J.   See also Second-Hand    Dealers.
          2003. Issuing License-Date.      2. It shall be the duty ·of the City
        Comptroller, upon the presentation of the treasury certificate show-
        ing the payment of said fee into the city treasury, to issue to the
        person entitled .thereto the license applied for. Such license shall



                                                                                               FFXCO_12871
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 42 of 144 PageID# 2331




    EXHIBIT 36



                                                              FFXCO_12872
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 43 of 144 PageID# 2332




                                                     REPORT

                                                           OF THE




                             BOARD OF
                        PARK COMMISSIONERS

                                                           OF THE




                               CITY OF ROCHESTER,N. Y.



                                                  ........ ____   -            ....


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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 44 of 144 PageID# 2333




                                   RRPORT    OF PARK      COMMISSIONERS




                                    PENAL ORDINANCES
               Relating to the Use and Government of the Public Parks and
                            Parkways of the City of Rochester.

                                            Pa-d    August   26, 1896.

                    The Board of Park Commissioners of the city of Rochester do enact as
               follows:
                                               DltFINil'I01'S.

                    SECTION   1. The terms ''parks"   used herein shall be construed to
               include all lands and waters under the control of the Board of Park Com-
               missioners of the city of Rochester, except parkways, and the term "said
               Board" shall be construed to mean the Board of Park Commissioners of
               said city.
                               GENERAL      RULES    AS TO USE       OF   PARKS.

                    SECTION    2. The parks of the city of Rochester are for the benefit and
               pleasure of the public, and every person shall use said parks subject to the
               ordinances of said Board.
                    The roadways in the parks shall not be used by any vehicles except those
               employed for the purposes of pleasure; the rides and bridle paths shall be
               used only by persons on horseback or bicycles, and the walks shall be used
               exclusively by pedestrians, except that baby carriages and invalid chairs
               and children·s carts and tricycles may be propelled thereon
                    This section shall not apply to vehicles used by order of said Board.
                    The parks shall be closed from II o"clock P. M .. until 5 o·ctock A. M.,
               during the summer season, and from 10 o'clock P. M., until 7 o'clock A. M.,
               during the winter season ; and no persons except employes of said Board
               on duty, or members of said Board, shall go into, or remain in said parks.
               while closed. The summer season shall be from April 1st until November
               15th, and the winter season shall be from November 15th until April 1st.
                                            ACTS    PROHIBITED

                    SECTION   3. No person shall commit any of the following acts within
               said parks:
                     1. Commit any disorderly or immoral acts.
                     2.  Be intoxicated.
                     3 Throw stones or missiles




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 45 of 144 PageID# 2334




                                         CITY OF ROCHESTER.                                97

                   4   Utter loud or indecent language.
                   5.  Play any game of cards or chance.
                   6.  Tell fortunes.
                   7.  Beg.
                   8.  Publicly solicit subscriptions.
                   9   Drive or lead a horse not well broken.
                   IO, Allow any dog to run at large.
                   11  Throw or drain offensive substances into any park waters.
                   12. Bathe in park waters without having the body concealed by suit-
              able covering extending from the knees to the shoulders.
                               ACTS PROHIBITED WITHOUT PERlIISSI0N,
                   SECTION 4. No person shall commit any of the following acts within
              said parks without the consent of said Board, or some duly authorized
              person.
                     I.  In any manner injure any tree, plant, grass, flower, fruit, turf or
              structure.
                     2.  Keep or offer anything for sale.
                     3. Play any music.
                     4. Post or display any sign, banner or advertisement.
                     5. Deliver any public speech.
                     6. Solicit passengers for any boat or vehicle for hire.
                     7. Obstruct in any way a roadway or path
                     8. Discharge any firearm or fireworks or seud up any balloon.
                     9. Permit any animal, except horses and dogs, to enter said parks.
                   IO,   Ride or drive any animal or vehicle at a speed exceeding eight
              miles per hour. This shall not apply to the vehicles of the fire or police
              departments, ambulances, nor vehicles used by physicians when actually
              engaged in responding to emerj?ency calls or to driving on the " speedway"
              in Genesee Valley Park,
                    11.  Hold any picnic at a place not designated by said Board for that
              purpose.
                    12.  Hold any public meeting or engage in any marching or driving as
              members of a military, political or other organization.
                    13. Conduct any funeral procession nor vehicle containing the body
              of a deceased person.
                    14. Build any fire.
                    15. Write, paint or carve on any tree, bench or structure.
                   16. Climb any tree, nor tie any horse to a tree.
                   17. Enter any place upon which the words "No Admittance" shall
              be displayed.
                   18. Play baseball, tennis, nor any other game at a place not designated
              by said Board for that purpose.
                   19. Take ice from any park waters.
                   20.   Fish in any park waters.
                   21.   Bathe in any place not designated by said Board for that purpose.




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 46 of 144 PageID# 2335




                                  REPORT OF PARK C0l\lMISSIONERS

                   22. Enter nor leave said parks except at the established ways of
              entrance and exit.
                   23. Place or propel any boat or other craft upon park waters.
                   24. Land from any boat at a place not designated by said Board for
              that purpose.
                   25. Carry any flowers or shrubs, firearm, sling-shot, axe, saw, shovel
               or spade within the following parks, viz.: Genesee Valley Park, Highland
              Park, Seneca Park east and Seneca Park west.
                   26. Occupy in any way the slopes of the river banks.
                   27. Violate the regulations,of said Board relating to any building or
              place.
                   28. Injure or unnecessarily disturb any fish, water fowl, birds or
              animals.
                   29. Injure any notice posted by order of said Board.
                                  DISPOSITIONOF VAGRANTANIMALS.
                    SECTION 5. Pounds for temporarily restraining animals found running
               at large within said park!' shall be established at such places as the Super-
               intendent of Parks may designate                           •
                    All animals found running at large within said parks contrary to the
               ordinances of said Board, may be seized by any person and conducted to
               any one of such pounds. Upon the impounding of any animal within a
               park pound, it shall be the duty of the Superintendent of Parks forthwith
                to notify the keeper of the city pound, who shall at once take and dispose
               of such animal in the manner provided by the penal ordinance of the city
                of Rochester relating to the disposition of vagrant animals.
                            PENAi.TY FOR VIOI.ATIONOF PARK ORDINANCES.
                    SECTION 6. Any violation of these ordinances shall be deemed a mis-
               demeanor, and shall be punishable by a fine of not less than five dollars
               nor more than one hundred dollars, and in default of the payment of such
               fine, any person so convicted may be imprisoned in the Monroe County
               Penitentiary for a period not exceeding thirty days, or by both such fine
               and .imprisonment.
                                    FORMER ORDINANCESREPEAi.ED,
                   SECTION 7. The ordinances of said Board, passed January              :z6, 1891,
               and all ordinances inconsistent herewith, are hereby repealed.




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 47 of 144 PageID# 2336




    EXHIBIT 37



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 48 of 144 PageID# 2337




                            Report of the


                   ... BOARD                        OF ...


          PARKCOMMISSIONERS,
                                        OF




                    WILMINGTON, DEL.



                                     FOR THE




             Year ending December 31st, 1897.




                                WlLHINGTON, DEL.
                            TBB JOHN Y:. JlOGEJlS PJlESS,
                                        1898.
                                      a_CC t-;C.



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 49 of 144 PageID# 2338




             PRESENTBOARD OF PARK COMMISSIONERS.
                                       Date of Appointment.   Term E~ires.
           William M. Canby,            March    1883. December 31, 1902.
           George S. Capelle,           January  1898.     "     "    "
           George W. Bush,              March    1883.     "     " 1901.
           J. Newlin Gawthrop,          November 1895.     "     "    "
           William P. Bancroft,         March    1883.     "     " 19()0.
           Henry A. duPont,               "        "           I I
                                                                 "    "
                                                               cc
           Thotnas F. Bayard,              "          "               "    1899.
                                                               cc     cc
           Joseph L. Carpenter, Jr.,    January   1895.                       "
           Dennis J. Menton,            September 1886.        "      "      1898.
           Samuel Bancroft, Jr.,        November 1895.         "      "       "

                               MEMBERS EX-OFFICIO.
               Henry C. McLear, Mayor.
               C. Marion Leitch, President ef Council.
               James B. Oberly, Chairman of Finan« Commillee.
               James Wilson, Chief Engineer of Surveying Department.

                                        OFFICERS.
                  William M. Canby, President.
                  Joseph A. Richardson, Secretary and Treasurer.
                  Theodore A. Leisen, Eng£neer and Superintendent.

              OFFICE OF THE ENGINEER AND SUPERINTENDENT.
                     Corner Lovering Avenue and Dupont Street.

                              EXECUTIVE COMMITTEE.
                             William M. Canby, Chairman.
                             Dennis J. Menton.
                             J. Newlin Gawthrop.




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 50 of 144 PageID# 2339




            24                      REPOll.T OP THE




                               PARK REGULATIONS.


                 No person shall ride or drive upon any part of the Park ex-
            cept upon the roads intended for such purposes.

                No person shall bring led horses within the limits of the
            Park nor turn any horses, cattle, goats, swine, dogs or other ani-
            mals loose in the Park.

                 No person shall indulge in any threating, abusive, insulting
            or indecent language, or commit any obscene or indecent act in                         I
            the Park.

                 No person shall carry firearms, shoot birds, or other animals,                    I
            nor throw stones or other missiles, or in any way disturb or annoy
                                                                                                   '
            the birds or animals within the boundaries of the Park.

                 No person shall throw any dead animals or other offensive                         I
            matter into the Park, nor foul any spring, brook or other water
            within the boundaries of the Park..
                                                                                                   I
                 No person shall cut, break or otherwise injure or deface any
            trees, shrubs, plants, turf, rock or any building, fence, bridge or                    I
            other structure within the Park.

                 No person shall erect, paint, paste or otherwise affix or dis-
            tribute any signs, advertisements or circulars within the Park.

                 No person shall injure, deface, destroy, or remove any notices
            or regulations for the government of the Park.
                                                  Penalties, $5.00 to $10.00




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 51 of 144 PageID# 2340




    EXHIBIT 38



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 52 of 144 PageID# 2341




                              CHARTER
                                            AND



           REVISED                        ORDINANCES
                                             OF




                KANSAS CITY
                                         ·1898.

        TO WHICH ARE PREFIXED A TABLE OF THE CASES CITED; AN HISTORIOAL
         SKETOH OF THE OITY; AND, ALSO, THE CONSTITUTIONAL   PROVISIONS AND
          ENABLING AOT IN PURSUANCE OF WHICH SAID CHARTER WAS FRAMED
            BY A BOARD OF THIRTEEN FREEHOLDERS AND SUBMITTED TO, AND
             RATIFIED BY, THE QUALIFIED VOTERS 01<'THE CITY AT A SPECIAL
              ELECTION APRIL 8, 1889, AND SUPERSEDED THE OLD CHARTER
                MAY 8. 1889. THE A:\IENDMENTS TO THE CITY CHARTER
                 ADOPTED SINCE THE LAST llATE ABOVE, HAVE BEEN
                   ARRANGED IN THEIR PROPER PLACES, WITH FOOT-
                    NOTES SHOWING THE DATES OF THEIR ADOPTION.


         THE ANNOTATIONS EMBRACE THE DECI8ION8 IN THE SUPREME COURT
             RE'f>ORTS, VOLUMES 1-137, INCLUSIVE,  AND APPEAL REPORTS,
                   VOLUMES 1-70, INCLUSIVE, BEARING UPON MUNICIPAL
                        RIGHTS AND LIABILITIES:   AND THE CON-
                             STRUCTION 01<' THE CHARTER
                                     AND ORDINANCES.


                       COKPILJ:D,ARRANGED,ANNOTATED,ANDINDEXEDBY
                   FRANK    F. ROZZELLE     Atm GEORGE      R. THOMPSON,
                           OF THE   KANSAS ClTY   BAR, ASSISTED   BY
        R. 8. MIDDLEBROOK, CITY OOUN8ELOR,ANDH. 0. McDOUGAL, l'ORMERCITY COUNSELOR
              ANDAlll ADVISORYCOKKITTBB CONSISTING01' L. E. WYNE, P. S. BROWN, Ja.
                  AND GEORGE EYSSELL. OJ' THIC UPPER HOUSE, AND JAMES G.
                       SMITH, A. D. BURROWS AIIIDJAMES PENDERGAST, or
                            THB LOWER HOUSI: 01' TBIC COMMONCoUNCIL.



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                  AUTHORITY    OF THE CITY OF KANSAS CITY. MISSOURI.




                                    KANSASCITY:
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                                         1898.




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 53 of 144 PageID# 2342




                                     APPENDIX.                              655




                           ORDINANCE             No. 9637.

         AN ORDINANCE PROVIDING   FOR THE REGULATION AND
           ORDERLY GOVERNMENT OF PARKS, BOULEVARDS,PARK-
           WAYS, PARK ROADS AND OTHER PUBLIC GROUNDS UNDER
           THE CONTROL AND MANAGEMENT OF THE BOARD OF PARK
           COMMISSIONERS.              •
         .Be it ordained by the Common Council v.f Kan.<JasCity:
              SECTION 1.     That nil omnibuses and all wagons, drays, trucks
         and other vehicles, for currying ~oods, merchandise, manure,
         garbage. or other articles, entering upon any boulevttrd or park-
         wny of this city, shall have width of tire as follows:
              All vehicle:-.of the kind above mentioned drawn by one horse
         shall have width of tire of not }Oi,sthan three (3) inches. All
         such vehicles dmwn by two or more horses shnll have width of
         tire not le~s than four (4) inches; provided, however, thut all
         wagons, omnibuses und other vehicles of less width of tire than
         above specified, currying goods, merchandise or other articles to
         or from nny bonso or premises abutting upon uny bouleva1·d or
         p1ukwuy, sbnll be permitted to enter thereon at tho c1·oss street
         nearest said house or premises in the direction in which the same
         are moving, nnd deliver nnd receive such merchnndise or other
         articles, hut shall not proceed on such boulevard or parkway
         further thnn the nearest cross street thereafter.    That t bis pro-
         vision shall take effect nnd be in force six (6) months ufter the
         appl'Oval of suid ordinance.
                                                                   .
            SEC.   2. No vehicle, nor horse, nor mule, shall he permitted
         to stand upon nny portion of uny bonlevnrd, pnrkway or park
         road of said city. unless the clriver thereof is in charge of and
         accompanies the same; nor shall uny horse, mule or vehicle he per-
         mitted to stand upon any boulevnrd, parkway or park road to the
         obstruction of the same or to the inconvenience of travel.

             SEC. 3.   No person shall engage in any racing, speeding or
         fast and reckless riding or driving on nny boulevur<l, pnrkwny or
         purk rond of snid city, except on such part or portion of any
         boulevard, p:irkway or park road as muy be set upurt by the board
         of park commissioners for that pm·pose, und then only under such
         regulations as the board of park cummissionera muy prescribe .

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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 54 of 144 PageID# 2343




                656                         APPENDIX.

                    SEC. 4.   No velocipede, bicyc]e, tricyc]e, wheelbarrow, hand-
                cnrt, nor other vehicle, nor any horse, mnle, catt]e nor swine shall
                be plnced by the owner or any other person in charge or cuntrol
                thereof, or be p(>rmitted by the same upon the sidewalks, wa]ks,
                curbstones, gra~s plots, or planting space8 of any park, boulevard,
                or parkway, nor to cross the same. Nor shall such vehicle or
                animal be tuken upon any part thereof except upon the cnrringe
                drives and crossings provided therefor.      Nor sha11 any horses,
                mules, cuttle, sheep or swine be driven loose, singly or in herds on
                any boulevard or purkwny. or park road of snid city. Nor shall
                any dog he taken or pc1·mitted in or upon any park, except the
                bame be Jed und secured at all times by cord or chain of not greater
                length than ten ( 10) feet.

                   SEC.   5. No person shall hitch any horse or other auimnl to
               any lump post, tree or fire hydrant on any boulevard or parkwuy,
               or ride 01·drive over the curbstone, sidewalks or grnss plots thereon.
               Nor shall nny person permit any horse, mu]e or other unimal to
               stand so ne:tr to any tree on any. boulevard or parkway or in any
               pa1·k that such animal can damage the same by biting 01·otherwise.
               Nor shall nny person permit any horse or other animal unattended
               to stand upon any boulevard or parkway of .said city unless the
               same shall be securely hitched :md checked.

                   SEC. 6.   No owner, occupant or agent of any land abutting
               upon any boulevard or parkway of said city shall ullow the earth
               or any rubbish from sni<l land to fall or wash upon any put of
               said boulevard or parkway. Nor shall any person throw or cause
               to be thrown any dirt or rubbish of any kind upon any such ptH·k,
               boulevard, parkway or park road.

                   SEC. 7.    No person shall place or deposit or allow to be placed
               or deposited on any boulevard, parkway or park road of suid city,
               any building muterial whatsoever or any other artic]es or things
               which would obstruct or hinder the travel thereon, without a writ-
               ten permit from the board of park commissioners, which said per-
               mit shall state how great a space will be ullotted on which the
               same may be placed or deposited, and the length of time <luring
               which said permit shnll be in fo1·ce;but no obstruction nor deposit
               of nny kind shall be placed upon the parking or sidewalk on any
               boulevnr<l or park way nor shall any coal or wood or merchandise
               be dumped or thrown upon any boulevard or parkway.

                   SEC. 8.   Every person having the use of any portion of any
               boulevard, parkway or park road of said city, for the purpose of
               erecting or repairing any building or for any other purpose 1:1hall

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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 55 of 144 PageID# 2344




                                       APPENDIX.                            657

           cause two (2) red lights to he placed in a conspicuous place, one
           at each end of such obstruction from dusk until sunrise in the
           morning of each day during the time such obstruction shall remain,
           and shall also construct and maintain proper safeguards and a
           good and safe plank sidewalk around such obstruction, which side-
           walk shall be at least two (2) feet wide.

               SEc. 9. No person shall play any game whittsoever in or upon
           any of the parks, boulevardi!, parkwuys or driveways under the
           control of the board of park commissioners; provided, however,
           that ball, cricket, lawn tennis und other µ;nmes of recreation may
           be played upon such portions of said parks as m1Lybe designated
           from timo to time by the board of park commissioners, and under
           such rules and regul1ttions as may be prcsci-ibed by said board.
           The grass plots or lawns of public purks and parkways shall not
           be used by uny person as thoroughfares in crnssing from one rond-
           way, walk or street to anothet· roadway, walk or street. But this
           section shttll not be construed to interfere with the use of public
           parks or park ways as pleasure gl'Ounds by the people for the pur-
           pose of recreation under such reasonable rules and regulations us
           may he prei::crihed by the board of park commissioners.

               SEC. 10. No person shall engage in any sport upon any
           boulevard, pnrkway, park roud or drivew1ly under the control or
           supervision of the board of park commissioners which will be
           Jikely to frighten horses, injure passsengers or embarrass the pass-
           age of vehicles thereon.

               SEc. 11. No person shall fire or discharge any gun or pistol,
           or cany fire-arms, or throw stones or other missiles, or fire, dis-
           churge or set off u.ny rocket, cracker, torpedo, Rq_uihor other fire-
           works, or things containing nny substance of an explosive char-
           acter, within any park, boulevard, parkway or drivewny of this
           city under the control or supet·vision of the board of park com-
           missioners, except upon a permit first duly obtained or authority
           previously granted by said board and •subject to such rules and
           regulations as snid board may establish.
               SEC. 12 .. No person shall expose any article or thing for
           sale, or do any hawking or peddling, or distributing hand-bills,
           or erect any sign-board, or paste or affix any notice or bill or
           other writing or printing on any tree, lamp post, hydrant, curb-
           stone, sidewalk, coping, flugstone, fence, wall, building or other
           place in any park, boulevard, parkway, pnrk road, driveway or
           other public grounds under the control or supervision of the board
           of park commissioners of said city. Nor shall any person drive
               -'2



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 56 of 144 PageID# 2345




               658                         APPENDIX.


               any animnl or vehicle displaying any placard or advertisement of
               any kind; nor shall nny person display any placard or advertise-
               ment of any kind upon or along any boulevnrd, parkway, park
               road or in any park or other public grounds under the control
               and management of the board of park commissioners of said city.

                   SEc. 13. No person !--hallcut, break or in uny way injure or
               deface any of the trees, shrubs, plants, turf, gruss, lamp posts,
               fences. bridges, buildings or other constructions of property in
               or upon any park, boulevards, purkways, park rouds or other
               public grounds of said city under the control or supervision of
               the board of park commissioners.

                   SEC. 14. All persons riding bicycles, tricycles and velocipedes
               in parks, or upon parkways, boulevards or park roads, shall be
               required to keep upon the puths specially provided for the same,
               or upon the roadway, and in no case shall be permitted to ride
               upon the foot-puths or upon the parking or grass.

                   SEc. 15. That no vehicles, other than those used for pleasure
               driving, or other than such carts or other vehicles as may he
               employed by the board of park commissioners in the construction
               of, or caring for said parks, shall be permitted to enter said parks.

                   SEc. 16. No person shall be guilty of disorderly, bawdy or
               lewd conduct, or of habitual loafing, or of sleeping on the ground
               or benches, or make, aid or assist in making any disorderly noise
               or riot or breuch of the peace within the limits of any park, boule-
               vard, parkway or other public grounds of the city.

                   SEc. 17. Any person who shall violate al)y of the foregoing
               provisions, rules and regulations, shall be deemed guilty of a mis-
               demeanor and upon conviction thereof shall be punished by a fine
               of not less than five dollars ($5. 00) nor more thnn one hundred
               dollars ($100) for each and every offense. and in addition to the
               members of the regular police force of Kansas City who may be
               specially detailed by the board of police commissoners for the en-
               forcement of the foregoing rules and regulations and for service
               under the direction of the board of park: commissiqners, 88.idboard
               of park commissioners may employ and appoint additional persons
               to act a8 sp"cial guards in parks, boulevards and parkways, as it may
               find it expedient and deem necessary for the protection of the same
               and for the euforcement of the rules and regulations of said board
               and the ordinances of the city relating to the regulation and orderly
               government of parks and public grounds under the control and



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 57 of 144 PageID# 2346




                                         APPENDIX.                                   669

           management of the hoard of park commissioners, nnd all such
           special park guards shall be sworn into service of the city as
           special policemen, and shall he pnid out of the geneml funds ap-
           propriated by the common council for the general expenses of the
           board of park commissionet·s and for other park purposes; but
           the numhe1· of such special policemen so appointed shall not ex-
           ceed fifteen (15) per cent of the regular police force of snid city
           without the consent or apprnval of the common council of said
           city.

               SEc. 18. The common council finds and declares that the
           action of the common council herein has been recommended by the
           hoard of park commissioners of Kansas City, Missouri, as p1·ovided
           by htw and that snid board has adopted said rules and regulations
           and htts recommended to the common council the establishment
           and enforcement of the same by ordinance as herein provided.

               SEo. 19. All ordinances or parts of ordinances in conflict with
           this ordinance, insomuch as they conflict herewith, are hereby
           repealed.

           Passed April 14, 1898.                    Passed April 18, 1898.
                  J .AMES G. SMITH,                             GEO.   s. GRAH.UI,
                       Speaker, Lower House of              President, Upper House of
                         the Common Council.                   the Common Council.

           [SEAL] Attest:             Approved April 18, 1898, 11 :50 A. H.
                  C.   s. CURHT,                       JAMES M. JONES,
                         City Clerk.                                          Mayor.
                  Bv E. A. NORRIS, Deputy.




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 58 of 144 PageID# 2347




    EXHIBIT 39



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 59 of 144 PageID# 2348
                                                                                                                                       •




                      l.CHARTER                                                                             1




                                                                       AND




                 ORDINANCES
                                                              OF TH'E




                           CITY OF NEW HA VEN


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                  TOGETHER
                         WITHLEGISLATIVE
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                          REVISED TO FEBRUARY                                                    1, 1898.




                                                        NEW HAVEN:

                           PRESS OF THE PR.ICE, LEE "                                ADKINS CO.

                                                                   1898.

                                                   RE'FORM CLUB,
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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 60 of 144 PageID# 2349




                              NEW HA VEN PUBLIO PARKS.                       293


                       NEW HAVEN PUBLIC PARKS.
                  Rt:TLBs A.NP RJ:GULA.TIONS OF THE    p A.Bit CoMmSBION.
                1. No domestic animal, except dogs, shall be permitted to enter
             -or to go at large in any of said parks, either with or without a
             keeper. Dogs must be held in leash by the owners, otherwise they
             may be killed by any park-keeper, special constable, or policeman.
                2. No person sha.11pick a.n.yflowers, foliage or fruit, or cut,
             break, dig up, or in any manner mutilate or injure any tree, shrub,
             plant, grass, turf, railing, seat, fence, structure, or other thing in
            .any of said parks, or cut, carve, paint, mark or paste on any
            tree, stone, fence, wall, building, monument, or other object
            therein, any bill, advertisement or inscription whatsoever.
                3. No person shall cany or have any fire-arms on any of sa.id
             parks, and no fire-arms shall be discharged from, or into any of
             the same. No stone or other missile shall be thrown or rolled from,
             into, within or upon any of said parks, except in such place as the
            commission may designate as a ball-field, in playing games in which
            a ball is used.
               4. No person shall ride or drive on any road within any of said
             parks at a faster gait than eight miles per hour, and this shall apply
            to the use of cycles.
                5. No threatening, abusive, boisterous, insulting or indecent
            Janguage, or gesture shall be used on a.ny of said parks, nor she.-11
            ~ny oration, harangue, or other public demonstration be made, un•
            less by special authority of said commission.
                6. No person shall expose any article or thing for sale on a.n.y
            -0f said parks, unless licensed therefor by said commission.
               7. No person sha.11bathe naked or otherwise in any waters in,
            or adjacent to any of said parks, or be naked within any of said
            parks, except in such places and subject to such regulations, as the
            <>orumission  may, from time to time, specially designate by a public
            notice set up for tbat purpose within the park.
               8. No person, unless by authority of said commission, shall
            light, kindle, Ol' use a.n.y:fireon any of said parks.
               9. No person shall ride or drive upon the grass, lawns, or foot-
            paths of any of said parks.
               10. No person shall disturb or injure any bird, bird's nest or
            eggs, or any squirrel or other animal within any of said parks.
                                                                                                        ,t




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 61 of 144 PageID# 2350




             294                NEW HAVEN PUBLIC P .ARKS.

                 11. No person i::halldischarge or set off, on or within any of said
              parks, any firecrackers, torpedoes, rockets or other fire-works, ex-
              cept by licensefrom said commission.
                 12. No person shall dig up or remove any dirt, stones, rock, or
              other thing, whatsoever, make any excavation, quarry any stone, or
              lay or set off any blast, or cause or assist in doing any of said things,
              within any of said parks, without the special order or license of said
              commission.
                 13. No bottles, broken glass, ashes, waste paper, or other
              r_ubbish,shall he left in any of said parks, except at such place or
              places as may be specially designated by tbe commission or by a
              sign marked Public Dump.
                 14. No cart, wagon, dray, truck or other vehicle, carrying lum-
              ber, stone, brick or any other goods, merchandise, or a.rticles of
              freight, or which is commonly used for the carriage thereof, shall,
              except in service of the commission, enter any part of said parks,
              e_"{ceptsuch p11b1ichighways as existed before the same was estab-
              lisbeq. as a park.
                 15. No horse shall be bitched to any shrub or tree in any of
              said parks.
                 16. Any person violating either the 'first, second, fourth, filth,
              sirlh, seventh, ninth, eleventh, twelfth, thirteenth or :fifteenth of
              the foregoing Rules and Regulations, shall forfeit and pay for each
              offense, a penalty of ten dollars. Any person violating any other
              of said Rules and Regulations shall forfeit and pay for each offense,
              a penalty of twenty dollars.




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 62 of 144 PageID# 2351




    EXHIBIT 40



                                                              FFXCO_12892
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 63 of 144 PageID# 2352




                                REVISED

                       ORDINANCES

                                      -OF        THE-




          CITY OF BOULDER

                Published by Authority of the City.




                              OSCAR F. A. GREENE,
                                            COMPILER.




                                              1899:
                    Printed   by Ricketts & Kerr, at The News Office,
                                    BOUL0E~ COLORADO.




                                                                        FFXCO_12893
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 64 of 144 PageID# 2353




                                   P   RKS-PROTECTION.                         1 57


          thirty-two in township one north of range seventy west, is
          hereby named and shall hereafter be known as VAL VER-
          DAN PARK.
          5 IO.   Washington      Park.

                SEc. 5. That the city property in the west half of the
          south-west quarter of section twenty-five in township one
          north of range seventy-one west, shall be named and here-
          afiter known as WASHINGTON          PARK.



                                                PARKS.


          An Ordinance     for the Protection  of the Several Parks Belonging to the
                  City and of the Buildings and Reservoirs and Trees and Other
                        Improvements at and Within Said Parks, and to Pro-
                             vide Penalties     for Injuring   the Same.
                                     Passed October 4, 1898.

                                  (With amendment          as noted.)


          5111.    No firearms or shooting         in.
               SECTION I. Any person other than the police officers
          of the city who shall take or carry or cause to be taken
          or carried into any of the parks belonging to the City of
          Boulder, any gun, pistol, revolver, or other firearm, or who
          shall shoot any firearm at or towards or over or into or
          upon any of said parks, shall be deemed guilty of a
          misdemeanor.    ( As amended August 2, I 899.)
          512.     No powder or explosives           in.
                SEC. 2. Any person who shall take or carry or cause
          to be taken or carried into any of said parks, any powder
          of any quality or kind or any explosive or dangerous or
          inflammable or' combustible substance, shall be deemed
          guilty of a misdemeanor.
           513.    No fires or explosives.
                SEC. 3. Any person who shall start any fire or cause
           or permit to be started any fire in any of said parks, not




                                                                                       FFXCO_12894
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 65 of 144 PageID# 2354




                                         PARK   -COTTAGE     .



               being thereunto first authorized by the Mayor, or who shall
               in any of said parks fire or explode any fire-crackers,
               torpedoes, or any other substance or thing containing
               powder or other explosive substance, shall be deemed
               guilty of a misdemeanor.
                514.    Injury to property.
                          4. Any person who shall deface, tear down,
                       SEC.
               destroy or injure in any manner whatsoever any fence,
               building. furniture, seat, structure, excavation, post, bracket,
               lamp, awning, fire plug, hydrant, water pipe, tree, shrub,
               plant, flower, railing, bridge, culvert, or any other property
               whatsoever belonging to the city or to any private corpo-
               ration or persons in, at or upon any of said parks, shall
               be deemed guilty of a misdemeanor.
                515.    Injury continued.
                          5. Any person who shall injure or damage in
                       SEC.
               any manner whatsoever any property of the city at, in or
               upon any of said parks by cutting, hacking, bending, break-
               ing, burning, daubing with paint or other substances,
               hitching of horses or other animals, or by means of fire, or
               by effecting such acts in any other manner, shall be deemed
               guilty of a misdemeanor.
               516.     Violation-Misdemeanor     Penalty.
                         6. Any person upon conviction of any mis-
                       SEC.
               demeanor specified in any of the five preceding sections
               herein sha11 be fined not less than five and not more than
               three hundred dollars.



                                                PARKS.


                         An Ordinance in Relation to Cottages in Texado Park.
                                       Passed April 17th, 1899.


                   W HEREA , a contract was made on, to-wit, the r 9th
               day of March, A. D. I 898, at Boulder, Colorado, by and




                                                                                FFXCO_12895
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 66 of 144 PageID# 2355




    EXHIBIT 41



                                                              FFXCO_12896
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 67 of 144 PageID# 2356




                 MUNICIPAL
                 REGISTERof the
                 Qrity nf ijartfnrh
                 Q
                       ONTAINING a List. of the Officers
                         of the City Government and its
                 Various Departments; also, Message of the
                 Mayor and the Annual Reports of the
                 Several Departments for the Year 1906-0 7 ;
                         Ordinances of the City, etc.




             0




                                 1907
              Printed by THE SMITH -LINSLEY CO., Hartford, Conn.



                                                                   FFXCO_12897
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 68 of 144 PageID# 2357




                                COMPILED AND ARRANGED

                                                BY


                             HENRY F. SMITH,

           IN ACCORDANCE WITH    A RESOLUTION    PASSED BY THE    COURT   OF COMMON
                     COUNCIL,    AND ISSUED UNDER THE DIRECTION OF THE
                         JOINT   STANDING   COMMITTEE   ON PRlNTING.


                                     NOV 1 7 1908




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 69 of 144 PageID# 2358




           492                MUNICIPAL, REGISTER.




                               APPENDIX A.

                          RULES   AND   REGULATIONS.

                The Board of Park Commissioners, by virtue of
           the authority vested in them, hereby make and ordain
           the following rules and regulations for the_ manage-
           ment of the parks owned by or under control of the
           city of Hartford.      Any person who shall violate any
           of the following rules and regulations, ''shall forfeit
           and pay for the use of the city treasury a fine not ex-
           ceeding thirty-five dollars ($35.00)."
                It is forbidden:-lst.   To enter or leave any Park,
           except· by the regular approaches thereto; to walk
           upon any grass border of any flower garden, walk, or
           driveway; to walk among or through shrubs, flowers,
           or other plantings, or to cross any lawn in any Park
           whenever a notice shall be conspicuously posted for-
           bidding such crossing.
                2nd. To climb, or get upon any tree; statue,
           fountain, fence, gate, gateway, or railing in any park,
           or to use any structure therein in any way other than
           that for which it was intended.
                3rd. To remove, cut, break, or otherwise injure,
           any tree or shrub, or any part thereof; to cut, pluck,
           or otherwise remove,· any blossom or other part of
           any plant or flower in any Park.
                4th. To cut, write upon, -deface, defile, or other,..
           wise injure any building, bridge, fence,. statue, fountain,
           seat, gate, gateway, or other structure, upon any Park.
                 5th. To permit any dog to pass over or to stray
           upon any Park where sheep are pastured or kept,
           unless led by a cord or chain, not exceeding six (6)
           feet in length or to permit any other animal to pass
                          1




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 70 of 144 PageID# 2359




                              PARK DEPARTMENT.                  493


           over or stray upon any Park area, but this provision
           shall not apply to horses when ridden or driven in
           harness, along the Park roadways.
                  6th. To throw any stick, stone, or other missle
           on ~ny portion of any Park.
                  7th. To scatter or leave upon any Park any
           paper, rag, garbage or other litter.
                • 8th. . To void any urine, dung or ot~er excrement,
           within the limits of any Park, excepting in such place
           or apartment as is, or shall be, specially provided for
           such purpose; and in the latter case, jt is forbidden
           to use or enter any apartment established for persons
           of the opposite sex exclusively.
                  9th. To discharge or carry firearms, firecrackers,
           torpedoes, or fireworks, but this prohibition shall not
           apply to the display of fireworks under municipal
           authority; to make any fire; to have any intoxicating
           beverage; to sell, offer, or expose for sale any goods
           or wares, except under a written license from the
           Board of Park Commissioners; to post or display any
           sign, placard, flag, or advertising device without such
           license; to solicit any subscription or contribution;
           to play any game of chance, .,.orto have possession of
           any instrument of gambling; to n1ake any oration,
           harangue, or loud outcry; to utter profane, threaten-
           ing, abusive, or indecent language, or to do any
           obscene or indecent act;· to bathe or fish; to solicit the
           acquaintance of, or follow, or otherwise annoy any
           other visitor.                                        ~
                  10th. To drive or propel any bicycle, tricycle,
           automobile, or· other vehicle, wheelbarrow, or handcart,
           on any Park, excepting on regular carriage roads; to
           skate or slide upon or across any walk upon any Park;
           or to slide or coast on any driveway.
                  11th. To ride or drive any horse,· bicycle, auto-.
           mobile or other _vehicle, or team, at a rate faster than
           six (6) miles an hour; to drive or lead any heavy tean1,




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 71 of 144 PageID# 2360




             494                MUNICIPAL   REGISTER.




           business wagon, 0r cart upon any Park driveway or
           carriageway, excepting upon Park business.
                 12th. To take or molest any bird, fish, frog, or
           any live animal, or bird's eggs, or in any way interfere
           with any bird's nest, or with any cage, box, place or
           enclosure for the protection of any bird, fish, or any
           live anin1al.
                 13th. To sleep upon, lie upon, or overturn, any
           seat upon any park.
                 14th. For any men to occupy any seat desig-
           nated as reserved for women and children.
                 15th. To play ball o·r any other games in any
           public Park except upon such portions thereof as may
           be set apart for that purpose.
                 16th. To deface or injure any notice placed by
           the Park Con1missioners upon any Park.
                 The foregoing are in addition to such prohibitions
           and penalties as are provided by the laws of this state
           and the ordinances of this city.
                           Board of Park Commissioners,
                           GEORGE A. FAIRFIELD,          President.
           Attest, FRANKLIN G. WHITMORE, Secretary.
                 Hartford, January 6, 1902.
                 Adopted by Board of Common Council, February
            10, 1902.                                            •
                 Approved by Mayor, February 11, 1902.
                             ALEXANDER        HARBISON, 1\/fayor.
           Attest, HENRY F. SMITH, City Clerk.




                                                              FFXCO_12901
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 72 of 144 PageID# 2361




    EXHIBIT 42



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 73 of 144 PageID# 2362




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                  Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 74 of 144 PageID# 2363




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               Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 75 of 144 PageID# 2364
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                                                                       Park      Ordinances.




                                                                                   OFFICE       OF    PARK   COMMISSION,

                                                                                         NEW     BEDFORD,       MASS.,

                                                                                                        September          r, r902.

                                              The Board of Park Commissioners                  of the City of New Bedford,
                                      by virtue of its authority              to make rules for the use and government
       r-'
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                                      of the public            parks   of said city, and for breaches of such rules
V
 E: 'O                                to affix penalties,         hereby ordain that within the public parks                      and
,..,~
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                                      commons of the city, except with prior consent of the Commissioners,
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 > Ill                                all persons are hereby forbidden:
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,._ <I.I
     u                                        I.     To cut, break, injure, deface, defile or ill-use any building,
NU
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        o,                            fence or other constri.1ction, or any tree, bush, plant, turf or any
....    I..
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        •                             property        whatsoever       of said city, ·or to have possession                   of any
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                                      shrub,        plant or tree, or any part thereof.
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        --4                                   2.     To take birds, fish or any live animals,                  or birds'       nests,
       .;.J
~11:
'U .t=                                or 111 any way interfere            with cages, boxes or enclosures                   for their

."''I                                 protection.
c..
....                                          3.     To throw      stones.     balls or other missiles;          to discharge         or
 ..     Q.
.s::.+J                               carry        firearms,   firecrackers,    torpedoes      or fireworks;       to make fires,
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......
                                      to play musical            instruments;      to ha\'e     for sale or otherwise any
                                      intoxicating        liquors or beverages; to sell or offer for sale any goods or
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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 76 of 144 PageID# 2365




                wares; to post or display signs, placards, flags or any advertising
                devices whatsoever; to play games of chance or to have possession of
                instruments of gambling; to utter profane, threatening, abusive
                or indecent language ; to make orations or loud outcries ; to in any
                manner annoy other visitors.
                            4.          To play ball or any other games in any park, except
                such portions thereof as may be set apart for that purpose.
                                5.      To drive any carriage, cycle, cart, wheelbarrow, hand cart or
                horse upon any park except upon regular carriage roads, and then at
                a rate not faster than five miles an hour.
                                6.      To drive or ride any horse or animal not well broken
                and under perfect control of the driver.
 v
                                7.      To refuse to obey the orders of the Commissioners, of the
E'l';I
"O Q.
rr>atic         Superintendent of Parks, of the Park Police, or of any authorized
� ::,.,,
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"O
                agent of said Commissioners.
:;,     Ill
.s:::"'
r-.. u
      (1J                   8.          Any person wilfully doing either of the above forbidden
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om
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                acts shall be punished by a fine not exceeding $20.00 for each
                offence.
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                            Compliance with the foregoing regulations is a condition of
C ..-,
    ....        the use of these premises.
.r -
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�        C

..r:.                                    JAMES E. l\IOORE, Chairman,
                                         SAMUEL P. RICHMOND,
                                                                                     Board of Park
                                         OBED C. NYE,
                                                                                     Commissioners.
                                         CHARLES T. SMITH,
09 21 44 GMT




                                         ERNEST A. WHEATON, Secretan·.
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                THOMAS Vi./. COOK,
                     General Superintendent.
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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 77 of 144 PageID# 2366




    EXHIBIT 43



                                                              FFXCO_12907
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 78 of 144 PageID# 2367




                                                              FFXCO_12908
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 79 of 144 PageID# 2368




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iI                      FirstAnnual-Report
                                       OF THE



                              Boardof Trustees
                                       OP THE




         1
               PleasureDriveway
                                        AND




                             Park District
                                        OF



                               ~ringfield,    Illinois.




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             FOR THJ;;1''f CAL YEAR fi~!\DINGJ X.Ji;lnH 'T
                                       1902



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 80 of 144 PageID# 2369




                68              AN              the Pleasure Driveway and Park
                                         Oao1NANOE         of
           FIRST ANNUAL   District of Springfield, Ill.! for the regulation, use and
             REPORT.
                          general government of the parks, grounds, waters, ex-
        An Ordinance.
                           tensions, additio.ns, streets, boulevards, driveways and
                           all properties now, or that hereafter may come under
                           the ju.risdiction and control of said Pleasure Driveway
                           and Park District nnd imposing penalties, as also for
                           appointment and government of park police.-Pnssed
                           January 11, 1902.



                           Be      it ordained        by        llw   President        and Trtistees of       the

                                Plecumre         Driveway             and    P<irk     District   of   Sprinr1-

                                jield.


                                                                  CHAPTER         I.
                             SooTION1. Tho parks shall be open daily to the
                           pablic from five (6) o'clock in the morning until twelve
                           (12) o'clock at night during the year, and no person,
                           not an employe of the pnrks, sboll enter or remain in
                           them at any other time.
                             In case ot am emergency, or where, in tbe judgment
                           of the General Superinten<lent, the public interest de-
                           mands it, portions of any park may be closed to the
                           public, and all persons thereon be excluded therefrom
                           until perrnission is given to return.
                             SEo. 2. Portions of the park may be set apart by the
                           General Superiillendent for ball, croquet or other gl\mes,
                           but no Karnes slhall be played in the parka on Sunday.
                           No funeral procession or hearse, uor any vehicle carry-
                           ing a corpse will be allowed upon o.ny part of the parks
                           or bonlevnrde, wilbout the previous consent of the Presi-
                           dent and Board of Trustees of said District.




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 81 of 144 PageID# 2370




          SEC.3. ALL PERSONS ARE FORBIDDEN:                                69
                                                                      PIRST ANNOAL
          (1) To enter or lean~ the parks, except by the walks,         REl'ORT.

        paths or drives;
           (2) To lead o'r •allow to ooloose, any animals upon
        park premises (except that dogs may bo led or carried,
        but not allowed loose);
          (3) To throw stones or other mieeles, by hand or
        otherwise;
          (4) To carry or discharge firearms, or to Ret off any
        fireworks or similar thing in tbe parks;
          (5) To cnt, mark, break, climb upon, or in any way
        injure or deface the trees, shrubs, plants, turf, or any of
        the buildings, fences, bridges, or other struct,ure or
        property within or upon })6rk premises;
           (6) To bring opon the park premises any tree, shrub
        or plant or any newly plucked branch or portion of a
        tree. shrub or pla·nt;
           (7) To race with bors~s or bicycles, or to drive or ride
        faster than eight (8) miles per hoar, on any of the park
        d.rives or boulevards;
           (8) To drive any animals or vehicles anywhere in the
        parks, except in the drives, or to allow them to stand
        except in the places especially p.ro,vided for such pur-
        poses;
           (9) To obstruct the drives or pntbs;
           (10) To solicit patronage for any vebiole for hiro,
        upon park premises without special license from the
        President and Boal'd of Trusteos;
           (11) To drive or cause to be driven or taken, any om-
        nibus, wagon, coach, carriage, nutouiobile, cart, dray,
        truck, or other vehicle, use<l for, or carrying goo<ls,
        wares, merchandise, manure., soil, or other article or




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 82 of 144 PageID# 2371




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                70              thing in or upon any of tho parks or boulevards, without
           ll'lRST ANSOAL
                REPORT.         a special permit therefor, except vehicles in private
                                family use, or those en1-tagodin work for the park; and
                                no person shall draw a second carriage, or vehicle of any
                                kind with any other vehicle thereon at one time, nor
                            ,   drive any horse or other animal before any sleigh or
                                slod, unless there shall be a sufficient number of bells
                                attached to tbe harness of the horse or animal drawing                      .'
                                                                                                            ',,

                                such sleigh or sled to warn persons of their approach;
                                  (12) To use threatening, a.bu1Sive,insulting, indecent,
                                obscene or profane language, or be guilty of drunken-
                                ness or indecency in or upon any of the parks or boule-
                                vards;
                                  (W) To drink any intoxicating, malt or vinous liquors                         i
                                in any of the parks, or enter any park while intoxicated.
                                  (14) To lie or sleep oh the benches, or to lie in inde-                       I
                                cent positions;
                                  (15) To tell fortunes or play at any game of chance;                      II
                                                                                                                 I
                                   (16) To 9f:J'orany article or tbing for snle, to distrib-
                                                                                                                 '
                                ute or expose any kind of circulars or advertisements,
                                or to post, stencil, or otherwise affix any notice or bills
                                or other paper, upon any structuro or thing, in or about                    (   1
                                tbe park premises i
                                   (11) To bathe or fish in, or to go or ride or to send
                                any animal into, or to throw or place any article or thing
                                in any of the wnters of the _pnrke,or to take 1my birds'
                                eggs or birds' nosts, or to disturb any of the fish, water                   r

                                fowl or other birds, or any nuimnl belonging to or pre-
                                serve<l io the parks;
                                   (1 ) To vlnce or propel any in,•alid chair; or pream-
                                bulator or velocipede, upon any portions of the parks
                                except upon tbe walks;




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 83 of 144 PageID# 2372




           (19) To ride bicycles or similar vehicles in the parka         71
         or boulevards, without complying with tbe following          FlRST ANNUAL
                                                                         Rl!:PORT.
         rules:
           (1) To go-upon·the driveways only; (2) to go not
         more than two abreast, keeping near together and on the
         right side of tbe drive; (3) to use extreme caution to
         keep out of the way of horses and foot passengerst and
         avoid frightening them by ringing a bell to announce
                                           ..
         their approach; (4) to carry a signal light
                                                 .... invariably at
         night;
           (20) To play upon any musical instrument, or to
         take, carry or display any flag, banner, targot or trans­
         parency, or to fty any kite within or upon any park or
         bonlevnr<l, or to parade, drill or perform therein any
         military or otber evolutions or movements as a military
         or target company, civic or otherwise, without the con­
         sent of the President and Board of Trustees;
           (21) To take part in any public meeting, or public
         discussion of any subject, on park premises;
            (22) To light, make or use any fire therein, unless an
         employe of tbe parks duly authoriud;
           (2a) To go, on foot or otherwise, upon the grass,
         lawn or turf of the parks or boulevards, wherever the
         sign i•Keep of the Grase'1 is shown;
           (24) To swing any hammock in any of the park
         grounds except upon trees designated by a police officer;
           (25) To lend� drive or propel any vehicle on, or along\
         any park boulevard, driveway or street under the con­
         trol of the Park Trustees displaying any placard or ad­
         ,ertisement of any kind, except signs upon delivory
         wagons authorized to deliver goods to persons living on
         such boulevards or driveways;




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 84 of 144 PageID# 2373




                72           (26) To place ashes, garbage, paper, coal or rubbish
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             .REPOR'C.
                           of any kind on any part of the parks or boulevards.
                             Sso. 4. Delivery wagons delivering goods to residents
                           of boulevards or driveways are permitted thereon only
                           when there is no other way to deliver sucb goods, and
                           then they shall only enter and leave the boulevard or
                           rlriveway at the nearest street to the pince of delivery.
                             Sso. 5. No opening to any saloon, beer garden or any
                           inclusure used for unlawful or improper purpose shall
                           be permitted on any boulevard, driveway, or any of the
                           pnrk grounds ..
                             SEC. 6. No person shall injure, diA' or tear up any
                           pavement, sidewalk, crosswalk, grass plat, or romlway or
                           any part thereof, of any boulevard or pleasnreway, with-
                           out having 6rst obtained the written permission of this
                           Board.
                             SEO. 7. No porson shall dig down to, expose, tear up,                     ..
                           disconnect or connect with lliny of the water pipes or
                           sewers in or under any boulevard or plensure\\"8Ywith-
                           out having first obtained the written permission of this
                           Board.
                             Sito. 8. When connections are to be made of different
                                                                                                       ...
                           kinds of pipos nil must be mnde simull1rneously1 And by
                           means of a sigle trench when practicable.
                             SEC. 9. No person shall move any building- nlon~.
                           across or upon any boulewud or plE>asurewaywithout
                           having first obtained tlrn written porn1ission of tbis
                           Board; and no builcliog sbo.11be moved along a.oy boule-
                           vard or plensureway for a i?Teater distanc~ tbnn one
                           block, or remain theroon longer than six hours.
                             81w. 10. No pr>rson shnll t1se or occupy any portion
                           of any boulevard or pleasureway for the purpose ot




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 85 of 144 PageID# 2374




    EXHIBIT 44



                                                              FFXCO_12915
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 86 of 144 PageID# 2375




                       First Annual Report
                                       OF THE BOAllD
                                                OF




                 Park Commissioners
                                             OF THE



                          CITY OF LOWELL


                                            FOR THE

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                     Year ending December                     31, 1903




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 87 of 144 PageID# 2376




                                              Rules and Regulations
                                         GOVERNING   THE PUBLIC PARKS WITHIN             THE
                                                      CITY OF LOWELL.



                                    The Board of Park Commissioners of the City of Lowell, by
                               virtue of its authority to make rules and regulations for the use
                               and government of the Public Parks and Commons of said City, and
                               to fix penalties for breaches of rules and regulations, hereby
                               ordains that, within such Public Parks and Commons, except by
                               and with the consent of the Board :-
                                 I.  It is forbidden to cut, break, injure, deface, defile or ill-use
                           any building, fence or other construction, or any tree, bush, plant
                           or turf, or any other property of said city which may be in the care
                           of the Board, or to have possession of any freshly plucked tree,
                           bush or plant, or any part thereof.
                                 2.  It is forbidden to disturb or injure any bird, bird's nest or
                           bird's eggs, or any squirrel or other animal, within any of said
                           Parks or Commons.
                                3. It is forbidden to throw stones, balls or other missiles ;
                           to discharge or carry firearms, fire crackers, torpedoes or fire-
                           works ; to make fires ; to have any intoxicating beverages ; to sell,
                           offer or expose for sale any goods or wares ; to post or display
                           signs, placards, flags or advertising devices ; to solicit subscrip-
                           tions or contributions, to play games of chance, or to have
                           possession of instruments of gambling ; to utter profane, threaten-
                           ing, abusive or indecent language, or to commit any obscene or
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                           indecent act ; to solicit the acquaintance of, or to follow, or in any
                           way annoy visitors to said Parks and Commons.
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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 88 of 144 PageID# 2377




                  4. It is forbidden to play ball or any other games in any
             public Park or Common, except in such portions thereof as may be
             set apart for that purpose.
                  5. It is forbidden to drive any carriage, automobile, bicycle,
             cart, wheelbarrow, hand-cart or horse in any Park or Common,
             except upon the regular carriage roads. No heavy teaming what-
             ever will be allowed within said Parks or Commons.
                   6. Visitors to said Parks or Commons must comply with the
             orders or requests of any member of the Board of Park Commis-
             sioners, or of the Park Police, or other agents of the Board, and
             assist them when required so to do.
                  Any person convicted of committing any of the acts above
             forbidden shall be punished by a fine of not exceeding twenty
             dollars.
                  Compliance with the foregoing rules and regulations is a
             condition of the use of these premises.


                                  JOHN J. PICKMAN,
                                  JOHN E. DRURY,
                                  PERCY PARKER,           Park Commissioners.
                                  THALLES P. HALL,
                                  HARVEY B. GREENE.
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                                                               HARVARD
                                                                     UNIVERSITY
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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 89 of 144 PageID# 2378




    EXHIBIT 45



                                                              FFXCO_12919
         Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 90 of 144 PageID# 2379




                                           PROCEEDINGS
                                                       OF THE



                  BOARD OF ALDERMEN
                                                        OF


                                 THE        CITY OF NEW YORK

                                                       FROM


                                     OCTOBER 6 TO DECEMBER           28, 1903.



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 91 of 144 PageID# 2380




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                                                          REPORT:



                       ·1hey tli.•reiore reeommcnd th:it the said oruina11cc be adopted.
                    ARMITAGE.         MATHEWS, NOAH TEBBETTS,. JAMES COWDEN MEY-
                ERS, FRANKL.          DOWLING, JOHN H. BEHRMANN, Committee on Laws and
                Legislation.
                ,>\~   ORDIXAXCE     to ro.:gulale th\! government of parks aud utller public i,leai.ure
                         grounds of The City of New York, anJ to protect them and the frequenters
                         thereoi from ill usage.
                       (:,, ,t Ordain\!J b:v the Roa rd of Alcl~r111c11
                                                                     of The City oi ~,tcw York, a~ tulltJw,:

                       .\ll persons an: iorbidden-
                     1. To cul. br,•ak or in auy w~y tnJnre or deface the trees, shrubs, pl:ln1s, gr:iss.
                posts, railings, chains. lamps, lampposts, bcnd1cs, tree-guards, buildings, structures
                or other pr-o('lerty in or upon any of the public parks, parkways, squares or places
                of or within Th~ City oi New Yor'k, unclcr the juristJictJou of the Department of
                Parks, or to dig into or upon the soil within the boundaries of any suc.h parks, park-
                ways, squares or places, or of any roatls or roadways upon or across the same.

                     II. To go on foot or otherwise. upon the grass, except when a11ll whcre per-
  .,.,          mitted, or to thro\v or leave a11y paper, refuse or ruhbi;;lt on any of the lawns or
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                walks of the said parks, parkways, squares or places .

                    III. To expose any article for sale or exhibition, unless previously licensed
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  ..,   n       by the Department oi Parks thereior, on any part of such public parks, parkways,
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                squares or places.
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  '=r I              IV. To post any bill, placard, notice or other paper ~pon any structure within
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  NU            such public parks. parkways, squares or places, or upon any street or avenue adja-
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                cent thereto under the jurisdiction of the Department of Parks, unless previously
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                licensed so to do by the Coh1missio11er having juris1li~tio111 and in atcorda1)ce \~ith
                the pro,·isio11s of section X VJ. hereof.

                      V. To play upon any musical instrument within such public parks, parkways,
                 squares or places. or take into, carry or display any flag, banner, target, or trans-
                 parency without the permission of the Commissioner having jurisdiction.
  .,.,,.,._,          VI. To erect any structure, stand or platform, or hold any meetings in such
      ....       parks, parkways, squares or places, without previous permission therefor from the
                 Commissioner having jurisdiction.
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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 92 of 144 PageID# 2381




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                     No earth. i,a11dor h~o1,cn sionc is to he c:irtcd 0, er any of the parkways, except
                011 trafTic rnads. 11:1lcss,-pecial permit for the same is obtained from the Commis-
                i,io11cr lun i11gjurisdiction,
                      XXII. It shail not he lawiul to mo1lify, alter, or in any 111nn11erinterfere with
                the lines or grades of any of the aforesaid p,nkwttys, concours<'S, circles, squares,
                avem1<•,, road~, strcc:'tS, C'ntran..:cs or apprrv1ch~s 1111'h·rthe iurisrliction of the ~aid
                D<'fl!lrt111cr11of Parks, nor to take 'lll, move: or di1,t1irb any of the curb and gntt<-r-
                ~loncs, ll;1i::gi111?.
                                    trees, tree-boxes, railing. f<'lll'rs, sod, soil or gravel, or to go 1111011
                or :ttTo~s said parks, ();trkwa_vs, concoursr~, circles. squares. roads. streets or a,·e-
                1111rs,C'XCt'ptby tlte me.lits and in the mannrr provided 1herefor; nor shall it be law-
                ful to r,pcn or nthtr\\'ise expose or inLt'rfcrr will' a11y of the W:\LCr, gas 3nu scwe,
                pip~s. or any c,f tht' hydn1111s. slop·co,b,      basins, or other comlrnctions      wi1hin or
                ,,pon said places, 1111rro take :my water or gas thc-rcfrom. nor Lo make any conner-
                tion 1hcre\\ith, cxtcpl hy special \\Ttl:1•11 t·nnscnt of the Commissioner ha,·inc j11ris
                1li,tion. and where ~ud, ('On~t'nt is ~iv<'11 a depr,sit ol money may be required to
                inrnre the rcstnr::nion 0£ the qid curhs, gutters, lln~ging, etc.
                     XXIII.      No person in bathinis cos111111ewill be permitted 10· walk or ride upon
                :i11y p:irk$. pitrkways or ht•achcs, exccr,t p,,Jltam Ray Park, under the juris1liction
                of the Depnrtnwnt of Parks. ~o br 1,1t or Ycssci shall be placed• upon any oi the
                waters of llll' ~:iid parks, except by special permission from the Commissioner h:iv-
                ini j11ris<licticm. J\o skating or skdding ,~ill u, allowed on the lakes nnlcss the
                kc is dc<:]ar<'d hy the Co111111issionerhaving j11rbdic1inn to the in a suitable condit1011
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                     XXIV.    No 011e shnll fire or c11Tr) any fir<:arm, fire cm<·krr, torp ..d 1, or fire.-
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                wnrks, nor mnk<- a firr. nor 111ak1•any nralion, nor CfH1tluct any religions or olhl:r
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         -::i   meeting or c~·rc:.mOnywil liin 11,nyof 1hc p/\l'ks, park•l'ays. square,; nr place:; in 'The
  Ci>
                {;ity of Xc:w York mHkt the j11rb1lkt11m ol lhc Dc1)art1ncnt of Parks without special
                prrmi~sion from the Co1111nissioner having jurisuirtiun.
                     XXV. No one sh.:11 C'nlc•ror lti1ve lh(! parks except at the estalJlishcd cntr:lnce-
                " •'YS: nor shall any ,me e111cr or remain therein aft1•r 12 o·cloc-k :it night. exC"cpt a~.
                c,n special orcasion;, general nse thereof 111:iy be a11thotiicll beyond the regular hours.
                     XXVI.      The oril'CS shall be used only by persons in pleasure earriag-es, on bil'y•
   C:
                des, or on hnrs ..hack: till' brlrllc palhs only by persons nn horsuhack.        Anin1al, , ..
                he 11~edon r.ither shall he well broken, and constantly held in such control that the)
                may be easily anrl quickly tnrncrl or stopped; they shall not be allowed to move at
                a rat11 or spel'd on the drives or bridle paths of more than eight miles an huur; and
  .. a.
  .::;   ...    wh('n it shall be rlecmc!l necessary to safery, good order, or the general co11,·c111cna
                that the speed of an a11inl:'\Ior an automobile should be checked, or th:it it shr,ulc
                he str,prcd, or its c:011r5ealterC'cl, ~nd tbe officers on duty shall so direct. h~• ge~1nre




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 93 of 144 PageID# 2382




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                r,r otlicrwi~e. sut·h direction    sh.Lil he nht"yed; a11d no horse or other benst of bun!t:n
                0r draft nor a11t011il'll,ilc~hall he driven or suffered to stand anywhere            except on the
                rlrin: or briclle path.

                     XXVII.     No hackney co.1rh or other vehicle for hire sh;ill stand within the pub-
                lic p:irks. parkways, s1)11arcs or places undt-r the jurisdktion  of the Department of•
                Parks for the purpose of tnking up pa~senp-crs. other than those whom it has
                brought in. excepting with the permission or the Commissioner h:n,ing jurisdiction.
                No public omniblis or exr,rcss wagon. ,ind no wngo11, earl or other vehicle carrying
                or or<linarily 11se<Ito c:trry mcrchanclise goods, tools or rnbbish shall enter such
                public parks. parkways. sq11arcs or placl's without permission or the Commissioner
                having jurisrlicrion, excepting upon tr:'lffit rontls provide(] for the purpose. No fire
                e111rine or other apparatus   on whrels for cxti11g1fi~liing fire shall enter or be
                allowcc! upon any part o( the park excepting the Transverse and Tra(Tic ronrls.

                       XXVITl.       No military   or target   rornpany   and   110    civic. i1111cralor other pro-
                ccs5ion. or a detachment of a procession. ;ind no hearse or olhcr vehicle. or person
                cnrrying the body of a <lead person slrnll enter or be allowed on any p:irt of the public
                parks. except by the permission of the Co1nlilissinncr having jurisdiction.

                     XXTX. No person shall bring i11tn or carry within the Central Park any tree,
                shrub, plant or flowt:r. nor ;111ynewly plnckc,:d bralirh or portion theeo( without a
                permit from the Co111111issi011er
                                                having jurisdiction .
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                       XX'-:.. No ellmpini;r :hall he allowed in any of the puhlic parks, parkways,.
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                plaza$. squares   nr p11hlic:Jthi.:1·~, 1111,J.,rthe jurisdiction of the Dep:utmcnl oi Parks,
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                CX('t•pt to the N:nion;il 011;ird of the- Stntc oi Nc·w, Y11rk 11t the paratle gr/lunds sit-
                uatl'<I in Van Cortlandt Park .
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         "'           XXXI.    Nr, pc>r~on ~hall ~111icilpasst·nge>rs for any coach or other vehicle ior
         .,.
         ,.     hire within or upon nny of the pnrk5. p:irkway:;, S!JU.HCS or places within the j11ris-
         ....   dictio11 vf the Dcr,art111r11t of Parks    All dri1·t•t.s nr :llten l1111tsof vehicles £or hire
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         0>     stancling 11pon or 1V"ilhinnnv s,,ch parks, parkways. sq11arc~ or places shall rcmai11 in
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                close proximity lo their vchic-lcs while so stanrling, and shall not follow, solicit or

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         ...
         ~      im11ortu11c any pcrsc111 cntt•ring or leaving the said _p:irks, parkways, squares or
                places.

                      Ordinances relating to the 11se of vchic:les in the p11blic parks, parkways and
                streets under the juriscliction and ccrnrrol of the Commissioners      of Parks of The
                City of New York.

         .c.          1. All vehicle!' m11~t carry a lig-hlerl lamp, showing a white light ahcaJ,                  from
                thirty minut11s after sunset 1111tilthirty mi11t1tes before sunrise.
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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 94 of 144 PageID# 2383




    EXHIBIT 46



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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 95 of 144 PageID# 2384


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                                              OF THE


                              CITY     OF PASADENA
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                                          VOLUME I
                                       Ordi11011ces
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                                     PUllUSHEO UNDER THE DIRl:CTI01'   OF
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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 96 of 144 PageID# 2385



               of this ordinance, shall be guilty of a misdemeanor, and upon convic-
               tion thereof shall be punished by a fine or not less than five ($5) dol•
               lars, and not more than one hundred ($100) dollars, or by imprison-
               ment not le-ss than five (5) days and not more than fifty (50) days, or
               by both such fine and imprisonment; and every day during which the
               work of plumbing or drainage Is continued in violation of the provi-
               sions of this ordinance shall be considered as constituting a new of-
               fense, and be punishable as In this section provided.
                    Sec. 13. Ordinances No. 474 and 626 and all ordinances and parts
               of ordinance.s In conflict herewith are hereby repealed.
                    Sec. 14. The City Clerk shall certify to the adoption of this Ordi-
               nance and cause the same to be published once in the Pasadena Even•
               Ing Star, and thereupon and thereafter the same shall take effect and
               be in force.
                    I hereby certify that the foregoing ordinance was adopted by the
               City Council of the City of Pasadena, at Its meeting held on the 8th
               day of December, 1903, by the following ,·ote:
                    Ayes. Messrs. Heiss, Lougery, Shibley, Slavin and Twombly.
                    Noes. None.
                                                                 HEMAN DYER,
                                                Clerk of the City oC Pasadena.
                   Approved this 9th day of December, 1903.
                                                      WILLIAM      H. VEDDER,
                                                   Mayor of the City of Pasadena.


                                        ORDINANCE     NO. 539.

               An Ordinance Establishing Rules and Regulations for the Government
                  of the Public Parks of the City of Pasadena, and Prescribing the
                  Penalty for the Violation of the Same.

                   Whereas, Tho Board of Commissioners or said city has adopted
              rules and regulations governing the public parks ot said city, In the
              form given in the following ordinance:
                   The l\1ayor and City Council of the (.;lty ot Pasadena do ordain as
              follows:·
                   Section 1. It ts hereby declared to be unlawful fo:r any person or
            / persons to do any of the acts hereinafter specified within the limits of
              any of said public parks.
                   1. To lead, or let loose any cattle, horse, mule, goat, sheep, swine,
              dog, or fowl, of any kind; provided that this shall not apply to dogs
              when led by a cord or chain, not more than six (6) feet long.
                   2. To carry or discharge any firearms, firecrackers, rockets, tor-
              pedoes, or any other fireworks.
                   3. To cut, brea.k, injure, deface, or disturb any tree, shrub, plant.
              rock, building, cage, pen, monument, fence, bench, or other structure,
              apparatus, or property; or to pluck, pull up, cut, take or remove any
              shrub, bush, plant or flower; or to mark, or write upon any building,
              monument, fence, bench, or other structure.
                   4. To cut or remove any wood, turf, grass, soil. rock, sand or
              gravel.
                   5. To distribute any band-bills, or circulars, or to post, place,
              erect any bHls, notice, paper, or advertising device or matter or any
              kind.
                   6. To swim, bathe, wade In, or pollute the waters of any fountain,
              pond, lake or stream.              .
                   7. To make or kindle a fire for any purpose.
                   8. To camp or lodge therein.
                   9. To ride, or drive any horse, or other animal, or to propel any
              vehicle, cycle, or automobile elsewhere than on the roads or drives
              provided for such purpose, and never on the footpaths.
                   10. To indulge in riotous, boisterous, threatening, or indecent
              conduct, or abusive, threatening, profane, or indecent language.
                   11. To sell, or offer for sale, any merchandise, article, 01· thing,
              whatsoever, without tile written consent of the Mayor.
                                                 29


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                                                                                 FFXCO_12926
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 97 of 144 PageID# 2386



                12. To hitch, or fasten any horse. or other animal, except at a
           plac.e specially designated and provided tor such purpose.
                13. To ride or drive at a rate of speed, exceeding four miles per
           hour.
                14. To ride or drive any horse or animal not well broken and un-
           der perfect control of the driver.
                16. To play or bet at or against any game which is played, con-
           ducted, dealt or carried on with cards, dice, or other device, for money,
           chips, shells, credit or any other representative of value, or to main-
           tain or exhibit any gambling table or other instrument of gambling or
           gaming.
               16. To practice, carry on, conduct, or solicit for any trade, occu-
           pation, business or profession, without the written permission of the
            Mayor.
                 17. To play or engage in any game. excepting at such place as
           a.ball be specially set apart for that purpose.
                 18. To drive or have any dray, tn1c.k, wagon, cart, perammulator,
           -Or other traffic vehicle, carrying or regularly used or employed in car-
           rying goods, merchandise, lumber, machinery, oil, manure, dirt. sand,
           or sol!, or any article of trade or commerce, or any offensive article or
            material whatsoever upon any road or drive, except such as may be
           eapeclally provided or designated for such use.
                 19. To drink any spirituous, vinous, malt or mixed liquors.
                 20. To throw or deposit any bottles, Un cans, broken glass, paper,
           clothes, sheet iron, or any rubbish.
                 Sec. 2. No company, society or organization shall bold, or con•
           duct any picnic, celebration, parade, service, or exercise lo any public
            park without first obtaining permission from the Mayor of said city,
           and It shall be unlawful for any person to take part in any picnic, cele-
            bration, parade, service, or exercises held or conducted contrary to the
           provisions bereor.
                 Sec. 3. It shall be unlawful for any pe.rson having the control
           or care of any dog to sutrer or permit such dog to enter or remain in a
           public park unless it be led by a leash of suitable strength not more
           than six (6) feet In length.
                 Sec. •· It shall be unlawful for any male person over eight yeare
           of age to enter or use any water-closet for women In a public park.
                 Sec. 6. Any person violating any of the provisions of this ordi-
           nance shall be deemed guilty of a misdemeanor, and upon conviction
            thereof sball be punished by a fine in a sum. not exceeding two hun-
           dred ($200) dollars, or by Imprisonment In the City Jail for a term not
           exceeding three (3) months, or by both such fine and imprisonment at
           the discretion of the Court.
                 Sec. 6. All foremen and employes in public par~s are hereby
           given tbe power and authority of special policemen for the purpose of
           making arrests for any violation of the provisions of this ordinance.
                 Sec. 7. The City Clerk shall certify to the adoption of thls Ordi-
           nance and shall cause same to be published once tn the Pasadena
           Evening Star.
                 (Became effective December 12, 1903.)


                                       ORDINANCE NO. 562.

           An Ordinance   Forbidding    Boxing Exhibitions   in the City of Pasadena.

                The Mayor and City Council of the '-ity of Pasadena do ordai.n as
           follows:
                Section 1. It shall be unlawful for any person to ho 1 d, conduct or
           engage in, or be present as a spectator at any boxing contest or spar-
           ring exhibition In the City of Pasadena; provided, however, that noth-
           ing In this section contained shall be construed so as to apply to any
           prize fight or sparring exhibition prohibited by Section 412 of the Pe.nal
           Code of tbe Slate of Caufornla, or to any private boxing with boxing
           gloves weighing not less than eight (8) ounces each, the backs of
           which are padded with soft material.
                Sec. 2. It shall be unlawful for any person knowingly to permit
                                               30


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                                                                                  FFXCO_12927
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 98 of 144 PageID# 2387




    EXHIBIT 47



                                                              FFXCO_12928
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 99 of 144 PageID# 2388




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 100 of 144 PageID# 2389




                MuNICIPAL                      ORDINANCES
                                         OF THE




                 RULES AND REGULATIONS
                                         OF    THE


                    HEALTH               DEPARTMENT



                  RULES AND                    REGULATIONS
                              WITH   REFE:RENCE      TO 'THE


                          WATER                 WORKS




                         COMl>IL~O   t1Nbltk   THE biRECTION   OF'

                              JOHN T. NORTON,
                               COR.PORATION       COUNSEL,




                                                                     FFXCO_12930
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 101 of 144 PageID# 2390




                                TROY TIMES ART PRESS,
                                     TROY, N, Y.


                                  NOV 24 1908




                                                               FFXCO_12931
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 102 of 144 PageID# 2391




                                          M iscellaneou;r.              3'16

                •Ariy ·person who· shall' offend against this ordinance
               shall, upon conviction ·thereof, by or before the • police
               magistrate of said City of Tro¥, be punished by srich fine
               or· imprisonment or both, as said police magistrate or
               police court of. the City of Troy, is now by law, empow-
               ered to impose for violations of .the city ordinances of
               said city.                       •
                  § 2. This ordinance shall take effect immediately upon
               its ratific_ationand approval by t?e common council of the
               City of Troy.



               AN ORDINANCEIN RELATIONTO THJt PUJBLICPARKSOF
                     THE CrTY OF TROYANDTHE MAINTENANCE          oF Goon
                     ORDERTHEREIN.
                                                  Passed June 4, 1903.
                   SECTIONr. The parks shall be open dailly to the public
               f1om five (S) o'clock in the ~orning until twelve. (12)
                 1
               0 clock at n1ght during the y~ar, and no person not an
               employee of the •parks _shallenter or remain in the_parks
               at any other time. :
                  § 2. Portions of the park located ,on Warren Hill are
               set apart fqr ball, croquet or other games. No games will
               be permitted on any· other parts of the grounds. No
               games shalll be played in the parks on Sunday .


                                                              .   .




                        ALL PERSONS ARE FORBIDDE_N.
                  To enter or leave f4e parks except ~y vvalks, paths or
               drives.     ••        •
                          ..       • ..      I

                ,_·.
                  ·To. lead or allow to be loose -any animals upon park
               premises. (exc~pt .that .do.gsmay be led or carried,' but not
               allowed .loose.)
                  To carry or discharge firearms, or to set off any fire-
               works or f;imilar thing in the parks.




                                                                          FFXCO_12932
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 103 of 144 PageID# 2392




                                      C~·Orilinwes.
                   To_cut, matk, break:or:climb upon orin any,way-injure
               ·or deface the·tr.ees sh.rubs,,plants.,-:turf.or;any,of;the build-
                ings, ·:fences or-.ether structure or property ,within :or··upon
               rthe :park:piremises.
                   To ·brm,g upon the park ·premises -any tree, shnib or
                plant or any newly plucked .bran-ch or -portion of a -tree,
                                               1


                shrub or plant.
                  To use threatening, abusive, insulting, indecent, . ob-
                sc_ene or profane 1ariguage or conduct ·in or ~on any
                portion of the parks.
                  To drink any intoxkatin_,.g,malt or vinous liquors in
                the parks or to enter the parks while intoxiicated.
                  To:lie or sleep onthe-'bench~s or·to lie,fo indecent posi-
               tions ·in saiid-parks.                          -
                 To tell Jortunes or •;playat .any games oir chance in th~
               parks .
                 . To bathe orJish in, or toga or-ride-Or to send .any ani-
               mal into, .or to· throw or ,place .any article or thing in,any
               of the waters· of the .parks, 0r .to .take. any birds' ~gg or
               birds' nest:s, or to disturb any of the fish·;.water fowl '?r
               other birdE;, or any animal belonging to or preserved in
               the parks.
                  To Ji,ght,. make or use.any ..fue. therein.
                  To go, on :foot or othmmi&e,rttp.00 ·the :3grass,,Iawn,-·or
               turf of the parks, wherever the sign "Keep Off the Grass,,
               is shown.
                   •§ 3. A1zyrPer$0n .or p.ei:son.s who .shall violate any or
                 either oI the foregoing provisions of ,this ordinance, or
               ..any :.secti~lllor clause,-or ~y ;:Pt..cw.isiQn~of~¥   section
                 thereof or who shall neglect or fail to comply with any
                or either o:f_the requirement~, thereof, shall,.:.Upon·convic-
                tion, pay a fine of not 1ess than five tloilaTs or· more -than
                one'i1uridn~d and fifty dollars for eachoffense, and-in de-
                 fault of "p:ayment be imprisoned in Renssehrer ·county
                jail <me da~ for·-eacll •dollar.




                                                                              FFXCO_12933
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 104 of 144 PageID# 2393




                                      ·Miscellaneous.                        377

                  § 4. This ordinance shall take effect immediately upon
               its ratification and ;approval by the common council of the
               City "OfTroy.



                        DUTIES OF CITY HALL JANITOR.

               PRESCRillED   BY COMMON      COUNCIL    NOVEMBER     16,    1876,
                    UPON REPOR'l' oF Sn:crAL     CoMMI'l'TEE.


                   He shall have charge and superintendence of all the
                rooms in the city hall, but shall not have the hiring or
                discharging of any helps which may be employed; that is
                to be left to the heads of the departments.
                   He shall sweep and clean all the passageways and halls
                i; th,e building, at least once a day, the said work to be
                done before nine o'clock in the morning.
                  He shall have charge and shall sweep, when necessary,
                the large public hall ·whenever used.
                  He shalll also keep clean all the water closets         in the
                builqing.
                 He shalll sweep the sidewalks around the city hall dur-
                mg the summer at least three times per week.
                   He sh;ill remove or cause to be -removed, all .the snow
                or ice off the sidewalk .during the winter, and also in the
                area ways around the sa!d building.
                  He shall have charge of the public fountains in front
                of city hall, .an~ also' sprinkle the grass pllots of the city
                hall.               •
                   He shaJII also ring the city hall bell ( if one is placed
                in the building) ~t .twelve o'clock noon ~nd at six o'clock
                P~~t




                                                                               FFXCO_12934
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 105 of 144 PageID# 2394




    EXHIBIT 48



                                                               FFXCO_12935
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 106 of 144 PageID# 2395




            REVISED         CODE OF ORDINANCE$

                                   OF THE




         CITY OF. HOUSTON
                     HARRIS     COUNTY,             TEXAS,
                         'TO OCTOBER          31, 1904.




         PUBLISHED    "BY AUTHORITY  OF THE CITY COUNCIL         OF
                         THE CITY OF HOUSTON,"




                                CODIFIED      BY
                         ROBERTS     & CRAWFORD,
                            OF THE HOUSTON         BAR
                                    1904 ..




                                HOUSTON, THAS.




                                                               FFXCO_12936
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 107 of 144 PageID# 2396




             tank for selling or d.ehvering kerosene, refined or crude oil
             within the limits oif Nie City o:f Ho1:,1s•tQ11, with;out -having at-
             tached thereto. a· -b-ucket or other receptacle in such •position
             that it catches aU the drippings ·Oifoil from sai_d.tan~s, •or who
             shall negHgently s•pill any ail on the streets of H.ousto.n that
             ar.e ,or -may be -p.aved with <J;SphaJt,shall he fined not less th~n
             five ,dollars and not more than twenly dollars.



                                      CHAiPTER XXXIX.
                                         0.IT1; p ARKS.

                  Art. 914. Mayor to Employ Keepel" and Gardener-There
              shall :l?•eemployed by the .Mayor, some p-erson or persons as
              ,gardener and keeper of the park, iwho shall hold his or their
              position at ,the pl•e.asurieof the Mayor, and who shall r.eceive a
              salary of not more than •seventy dollars per month. Suc'h
              gardener shall have,. under tihe Mayor and Committee on Parks,
             •superintendernce and ,control of the ·park property, and shall
              perform such_ -duties and work therein as may he directed by
              the ,Mayor and Committee on Park Proper,ty, and shall see thait
              such property ai-ndgr,ounds are prot,ected from de.predations or
              misuse; and ·should the Mayor employ workmen for said park,
              such gar-denier ·or keep:er shall, und-er the Mayor and Park
              Committee, have superintendence and direction of such work-
              men.
                · Art. 915. ~eeper to Live in Park-The       keeper of the park,
              he1rein pr-ovided for, ,shall he required to live in the house on
              the property, w1hkhhious,e he shall have free of r,ent.
                Art. 916. Appropriation o£ Receipts 9£ $am Hoq.ston Park-
              All moneys deriv:ed by the City of Houston from the sale o.f'
             •privileges· in the Sam Houston Park of said dty is hereby
              apipropri-a,t·ed to the Houston Improvement Lea;gue, to he -ap-
              plied by said Hio\1s¢:onImpr-ovemernt League t,o the free music
              fund, a fund t-o he us,ed fo[" the purpos,e of providing free •CO;Jl-
              cerits on ,certain days and nights during the summer months.




                                                                        FFXCO_12937
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 108 of 144 PageID# 2397

           ,
           358              Revised Code of •Ordinances

             Art. 917. Funds, How Disbursed~Thait the prop 1er officers_
          of the City of Houston, under its charter and ordinances, shall
          p.ay said moneys, .as collected, over to the treasurer of sai•d
          Houston Im,prov,ement League,· upon the written order of its
          president, duly attested by its secretary, who shall execute a
          receipt therefor, showi_ng the pur;pos-e for which the sam,e is
          irec-eived.
             Art. 918. Rules and Offerises--:-It shall he unlawful ,for any
          person or persons within the public ·park and commons ·of this
          city to do any of the following ads, viz :
                     1
                                                               .
             ,First. To cut, br,eak, injur,e, deface, ddile or ill-use any
          building, fence, bench or other construction, or any tree, bush,
          plant, turf, or any property whatsoever of said -city, or to have
          possie.ss-ionof a·ny ·shr:ub, plant or tree, or any part thereof.
                                                     1                       •
             Second. T,o take birds, fish or any liv,e animals or· bird's
          nests; :to annoy or ·f.eed-caged anim a1s, or in any way to inter-
                                                1



          fere with cages, boxes or enclosures for their protection.
             Third. To throw stones, baHs or other miissi1e.s; to ,discharge
          or carry fire.arms, firecrac,kens, torpedoes or fir•eworks; to make
          fires; to have, for sale or othenwis,e, any im-toxi-caitingliquors
          or heverages.
             ·Fourth. To ,s,ellor offer for sale any •goods or wares, or to
          play mu.skal instruments, without permission from Superinten-
          dent of P 1arks, or by conitract with the Mayor and P1~rk Com-
          mittee.
             Fifth. To post or di·splay signs, placards, fla,gs or any ad-
          verti;sing ,d1evicewhatsoever, ,ex-c·ep1:program of entertainment
          ait park; to play ,game of :chance, or to have posJS•ession1of in-
          struments of g.amblin:g.
              Sixth. To utter profane, threatening, abusive or. ind~~ent
          language; rt,omake orations or '1oud :outcries; to in any rn.a11ner
          annoy .,other visitors.
              Seventh. To play hall or any other game in any pa.rk, except
          on siuch port-ions thereof as may he ·set aipart for that purpose ;
          or to walk over any l1awn or grass plots not marked "Com-
          •mons."
              Eighth. To drhne any carriage, cyde, ,cart, automobile,




                                                                      FFXCO_12938
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 109 of 144 PageID# 2398



                                of the City of Houston                   359

          handcart or hors•e upon .any park, ·except upon -regular carriage
          roads, and then at a rate not .faster than five mi1es an hour.
             Ninth. To drive or ride any hors,e or animal not iweH :brqken
          and under perfect control of 'the driveT.
             T,enth. To allow dogs, horses or ainy othie~ animal liable to
          -caus,edesitruction of park property, to go loois,e'Or untied.
              Art. 919. Park Officers Have Police Power-Compliance
           with the foregoing rules and ·regulations is a -condition- of the
           us,e of these premi'ses, and the Superirntend,ent of Parks, or any
           agent or .agents of said iSuperintendent, or any person charged
           with the keeipirug ,and care of any public park ·or commons, as
           also police officers, shall have authority to enfor,ce provisions
           of Article 918 by expulsion from park grounds, or arrest.
              Art. 920. Penalty-Any     person wilfuily doing any of the
           above forbidden acts shall, up,on conviction, be punished by a
           fine not exceeding twenty dollars nor less than ope dollar
           for each offense.
             Art. 921. Foregoing Rules Do not Apply to Necessary Acts
           of Employes-This •chapter 1shall not be construed as to apply
           to workmen in the le,gitiimate dis,charge of their respective
           duties ..


                                  CHAPTER        XL.
                  PAWNBROKERS,    SECOND-HAND AND JUNK DEALERS
                                     AND JUNK.

              Art. 922. Mayor Shall Purchase Books for Use of-Tt shall
           be the duty of the Mayor to purchase a suitable number of books
           for the us,e of pawnbrokers and .aH second-hand dealens herein-
           after specified, at a cost not to exceed two hundred dollars. It
           shall he the duty oif such _persons engaged in the business of
           paiwnhr,oking, or as a pawnbroker or ·second-hand dealer, or
           .who may .hereafter ,engage in the business of p~wnbroking or
           as a second-hand dealer in the City of Houston, to procure of.
           the .City Secretary and keep on hand one of said books, and
            tnake or ,cause to he made therein a record of the subjects




                                                                      FFXCO_12939
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 110 of 144 PageID# 2399




    EXHIBIT 49



                                                               FFXCO_12940
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 111 of 144 PageID# 2400




                                                    THE


                            ORDINANCtS
                     -----'-----(                    F THE----,----




               City of Neligh
                                      NEBRASKA


                                                COMPRISING


         ALL   ORDINANCES               OF      A    GENERAL            NATURE     PASSED
                        JUNE        16, 1906,       OR PRIOR          THER:ETO




          0
               PUBT.ISHI·m          DNDF,H      ./1.UTHOJU'rv      OF 'J'fn,~ lvfAVOR
               AND     .CouNcn, OF THE Cnv                    OF   Nm.r m, NEBR.



                                        1906



                                                                                        FFXCO_12941
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 112 of 144 PageID# 2401




                               CITY    ORDINANCES                       35

       priated by the city or donated to the city for park purposes,
       to inform again ·t and prosecute all persons violating any of
       the by-laws or rules of the city for the protection and preser-
       vation of city parks. Provided, that the expenditures         of
       such park commission shall not exceed the appropriation
       and d~natio~s for park purposes.
            Section 6. Any vacancy occurring in the board of park
       commissioners may be filled by appo1ntme11t and confirma-
       tion at any regular or spec·ial meeting of the city council,
       and any person appointed to fill such vacancy shall hold of-
       fice during the unexpired term for which be is appointed.
            Section 7. No member of the park commission hereby
       created shall receive any fee or compensation for his services
       as a member of such commission.
           Section 8. This ordinance shall be in force after            its
       passage, approval and publication according to law.
           Pas ed and approved August         3rd, 1903.
           Attest:    R. WiLSON,                    M. B. HUFFMAN,
           [sEAr,J       City Clerk.                           Mayor.




                     PARK        PROTECTION

                            ORDINANCE         NO. 59
       An ordinance to protect the trees, shrubs and plants, in any
          public park belonging to the city of Neligh, and to. pro-
           vide for the punishment of persons found guilty of the
          violation thereof.
       Be it ordained by the mayor and council of the city of Ne-
           ligh, in Antelope county, Nebraska:-
            Section 1. • Any person who shall knowlingly injure or
       d stroy any tree, shrub, or flowering plant in any public
       park ~elonging to the city of Neligh, (except under super-




                                                                        FFXCO_12942
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 113 of 144 PageID# 2402




              36                      CI'l'Y ORDINANCES


              vision of the park board of said city), shall on conviction
              thereof, be fined in any sum not exceeding ~50.
                   Sectio.n 2. Any person w'.ho sha.11 tie any horse or horses
              to any tree or shrub in any pub]ic park belonging to the city
              of NeJigh, or who shall tie any horse or horses in such man-
              ner as to enable such horse or horses to injure any tr.ee or
              shrub in any such public park, sha11 on conviction ther of,
              be fined in any sum not exceeding $50.
                   Section 3. This ordinance shall be in full force and ef-
              fect on and after its publication in tl~e Neligh Leader.
                   Passed and approved June 4th, 1904.
                   Attest:   R. WILSON,                   M. B. HUFFMAN,
                   [SEAL]       City Clerk.                          Mayor.




                               PARK           A~NIMALS

                                   ORDINANCE       NO. hO
               An ordinance to protect the animals and birds in the public
                  parks of the city of Neligh, and to provide for the punish-
                  ment of persons guilty of the violation thereof.
             • Be it ordained by the mayor and council of the city of Ne-
                    ligh, in Antelope county, Nebraska:--
                    Sectioft 1. If any person sb all injure or kill any animal
              or bird in any-public park belonging to the city of Ne Iigh,
              such ·person shall on conviction thereof, be fined in the sum
              of :ii>lS.
                   Section 2. This ordinance shall bP in full force and ef-
              fect after its publication in the Neligh Leader.
                   Passed and approved June 4th, 1904.
                   Attest:   R. WILSON,                   M. B. HUFFMAN,
                   [SEAL]       City C1erk.                          Mayor.




                                                                     FFXCO_12943
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 114 of 144 PageID# 2403




                              CITY   01:'DINANCES                        3,7


              FIREARMS                IN     THE         PARK

                           ORDINANCE        ·NO. 61
        An ordinance to prevent the carrying· or discharging of fire-
            arms or gun of any description in any public park be-
           longing- to the city of .Neligh and to provide for the pun-
           ishment of persons found guilty of the violation thereof.
        Be it ordained by the mayor and council        of the city of Ne-
            ligh, in Antelope county, Nebrai'ka:-
             Section 1. That if any person '-ihall carry or discharge
        any fire3.r111or gun of any description in any public park be-
        longing to the city of Neligh, such person shall on conviction
        thereof, be fined in any sum not exceeding $25.
             Section 2. This ordinance ~hall be in full force and ef-
        fect on and after its publication in the Neligh Leader.
            Passed and approYed June 4th, 1904.
            Attest:        R. Wn,soN,               M. B. HUFFMAN,
            [SEAL]            City Clerk.                      Mayor.




                 GRADES              OP     STREETS
                           ORDINANCE         NO. 63
        An ordinance adopting and approving the grade of city
           streets in the city of Neligh, Antelope county, Nebrask ....,
           as surveyed, platted      and established   by the City
           Engineer.
        Be it ordained by the mayor and city council of the city of
            Neligh, Antelope county, Nebraska:-
             Section 1. That the grade as surveyed, platt d and es-
        tabli ·heel and returned by the City Engineer of th following
        streets, to-wit: Walnut, Ash, Box-E~Jder, Locust, Mulberry,
        Cottonwood, Elm, Ch stnut, Linn, Main, Boyd, Fletcher,




                                                                        FFXCO_12944
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 115 of 144 PageID# 2404




             38                      CITY    ONDINANCES


             Hopkins, Putney, Coe and Mill streets, be and the same
             hereby i adopted and approve<l, and the return of such sur-
             vey, plat.ting and establishing of such grade, together with
             the field notes, plat and certificate shall be and the same
             are, hereby directed to be filed in the office of the City Cl rk
             as a part of the records in his office.
                  Section 2. This ordinance shall be in full force and ef-
             fect on and after its publication in the Neligh Leader.
                  Passed and approved this 1st day of October, 1904.
                  Attest:   R. Wn,soN,                    M. B. HUFFMAN,
                  [SEAL]       City Clerk.                           Mayor.




                             PARK            ADDITION

                                  ORDINANCE        NO. 64
             An ordinance accepting and rece•iving the title to certain real
                 estate for park purposes.
             Be it ordained by the mayor and city council of the          ity of
                 Neligh, Antelope county, Nebraska:-
                   Section 1. That the cit; of Neligh accept and receive
             title to the fol19wing described real estate to-wit: Commenc-
             ing at a point one-half chain west of the northeast corner of
             the southwest quarter of the southwest quarter of section 21,
             township 25, north of range 6, west of the 6th principal
             meridian, in Antelope county, Nebraska.           Thence bears
             south 49 degrees and 60 minute:s west, eleven and twenty-five
             hundredth chains. Thence west variation 10 degrees and SO
             minutes east, one chain. Th nee north 68 degrees and 40
             minutes west, two and seventy-five           hundredth  chains.
             Thence north 62 degrees west, three and fifty hundredth
           · chains. Thence north 42 degrees and 20 minu~es west, three
             and sixty-three hundredths chains.     Thence east on quarter



                                                                      FFXCO_12945
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 116 of 144 PageID# 2405




    EXHIBIT 50



                                                               FFXCO_12946
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 117 of 144 PageID# 2406




                  O~RDINA.NC·ES                                          c~
                                  OF THE




        CITY OF PUEBLO
                               COMPRISING




          ALL THE ORDINANCES OF A GENERAL                          AND
               PERM.ANENT NATURE IN FORCE
                      TO APRIL 1st, 1908

                                    AND


        DOWN TO AND INCLUDING                        ORDINANCE     No. 769

                             TOGETHER         \IVITH



               THE ARTICLES OF CONSOLIDATION
                       OF THE PUEBLOS




                                Compiled      by
                 D. A. HIGHBERGER     AND      JOHN    A. MARTIN
                              of the Pueblo    Bar




             PUBLISHED   BY AUTHORITY OF THE CITY COUNCIL
                          OF PUEBLO, COLORADO




                                                                         FFXCO_12947
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 118 of 144 PageID# 2407




                       DEC 1     1908




                                                               FFXCO_12948
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 119 of 144 PageID# 2408




                  ,,.            CHAPTER ·XXVII.

            654. Damage in Public Parks UnlawfUJl.

                Section   1.   That it shall be unlawful for any person to
            break down, mutilate, destroy or carry away any fence or
            fences around or belonging to any public parks in this city,
            or to walk over, upon or across the grass, or to cut, break or
            mutilate any tree or trees, or cut, break, deface or destroy
            any fountain or monument or other property belonging to
            the City of Pueblo, situate within any of said public parks.
                (Ordinance No. 432.       Passed and approved Jan. 8th,
            1894.)

            655. Penalty.

                Section 2.  Any person convicted of a violation of the
           foregoing section shall be fined in the sum of not less than
           Five (5) Dollars nor more than One Hundred (100) Dollars
           for each and every offense.
                (Ordinance     No. 432.   Passed and approved Jan. 8th,
            1894.)

           656. Rules and RegUilations-Parks and Park Property.

               • Ord. 678. That for the purpose of governing and reg-




                                                                     FFXCO_12949
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 120 of 144 PageID# 2409




            384

            ulating the use of the parks and of park property within the
            city of Pueblo, the following rules and regulations and the
            penalties for the violation of such rules and regulations are
            hereby prescribed and adopted:

            RULES, REGULATIONS AND ORDINANCES GOV-
                ERNING PARKS AND PARK PROPERTY.
                  I. From May I to November I the parks shall be
            open for visitors from 6 a. m. to I I p. m.; from N ovem.ber
            I to May I from 8 a. m. to 7 p. m., unless specially orde:red

            by the board.
                  2. No swine, goat, cattle, or other animal, excepting
            horses shall be permitted on the roadways, and no dogs per-
            mitted at large on any park.
                 3. No horse or other animal or second horse and ve-
            hicle shall be led on the roadways.
                  4.   No second vehicle shall be drawn on the roadways
            by any beast of burden or o1ther motive power.
                  5.   No fast driving or speeding permitted.
                 6. No funeral procession, nor any hearse or other ve-
            hicle carrying the body of a deceased person for burial, shall
            he allowed :in or upon any part of the parks.
                 7. No vehicle displaying any placard advertisem~n{ or
            advertiseme:nt of any kind shall be driven on the roadways
            for advertising purposes.
                  R    No placard, notice or advertisement of any kind




                                                                    FFXCO_12950
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 121 of 144 PageID# 2410




                                                                       385

            or nature shall be distributed, posted, or attached to any-
            thing movable or immovable on park or boulevard property,
            unless by consent of the board.

                 9. No velocipede, bicycle, tricycle, wheelbarrow, hand-
            cart, or other vehicle, or any horse or other animal, shall
            De permitted on the foot walks, sidewalks, grassplats or
            planting places.

                10.     No hackney coach, carriage, or other vehicle for
            hire shall stand upon any part of the parks for the purpose
            of soliciting or taking in any other passenger or person than
            those carried to the parks by said coach, carriage or vehicle,
            except at stands specially designated by the board .

               . I I.  Hitching horses or other animals to any tree,
            shrub, fence, railing, or other structure, except such as are
            provided for such purpose, or allowing horses or other ani-
            ma.ls to 'stand unhitched while the driver or attendant is
            Leyond reac:h of such horse is prohibited.
                12.    No sport or exercise shall be indulged in that is
            liable to frighten horses, injure travelers, or embarrass the
            passage of vehicl~s, except at such places as may be desig-
            nated for such purpose.
                I 3.    No gambling shall be permitted.
                 14. Picnics may be held in such parts of the parks as
            shall be designated for that purpose, and portions of the
            parks may be set apart for ball, croquet, and other games
            subjec_t to such regulations as may be made by the board,




                                                                     FFXCO_12951
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 122 of 144 PageID# 2411




            386

            and no person shall join any such picnic· or games without
            the consent of the persons of whom they are composed:, or
            shall in any manner disturb or interfere with the same.
                 15. No booth, tent, stall, or other structure shall he
            erected for any purpose, and no hawking or peddling ~hall
            be done, or article or thing exposed for sale, unless by per-
            mit from the board.
                 16. No indecent exposure of person, disorderly c:on-
            duct, noise, riot or breach of the peace; nor the use of ob-
            scene, threatening, abusive or insulting language shall he
            permitted.
                 17. No person shall enter any building, inclosure or
            place upon which the words "no admittance" or similar sign
            is posted, or violate the injunction of such sign.
                 18. No person shall stand, walk, ride or lie upon any
            place laid out and appropriated for shrubbery or grass \\hen
            there shall have been placed thereon a sign forbidding the
            same.
                 19. No person shall play upon any musical instrumc!nt,
            carry, or display any flag, target, or transparency, nor shall
            any military or private company, band or procession, parade,
            march, drill or perform any evolution movemient or cc!re-
            mony, and no person shall do or perform any act tending to
            congregate   persons except by permission of the bQard.
                  20.  No person shall fire or discharge any gun or pistol;
            carry firearms, kindle, or build fires or throw stones or other
            missiles.




                                                                      FFXCO_12952
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 123 of 144 PageID# 2412




                                                                          387

                 21.   No. person shall, without permit from the board,
            fire, discharige or set off any· rocket, cracker, torpedo, squib,
            or other fin!works or things containing any substance of an
            explosive character.
                22.   No carcass, ordure, filth, dirt, stone, wood, ashes,
            garbage, matter, substance or rubbish of any kind shall be
            placed or deposited thereon.
                 23. No basin, pool, lake or fountain shall be fouled
            by stone, wood or any other substance.
                 24. No fish, fowl or other animals shall be killed or
            caught, molested or disturbed in any manner, unless by
            order of the board.
                 25. No animal shall be tied to arty tree, shrub, electric
            light tower, lamp post, fire hydrant; building or other park
            fixture, except as provided.
                 26. No tree, shrub, plant or flower (wild or cultivated)
            shall be plucked, broken, trampled or climbed upon, peeled,
            cut, defaced, removed, destroyed or injured in arty manner.
                 27. No electric light to}:Ver,lamp post, fence, bridlge,
            building, fountain or other structure or property of any kind
            shall be defaced, cut, written upon, removed or in any man-
            ner injured or destroyed.
                28.   No person shall dii~, remove or carry away any
            sward, sand:, earth or material of any kind.
                 29. No person shall take into or upon any park any
            intoxicating liquors, either foir sale to others or for his own




                                                                        FFXCO_12953
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 124 of 144 PageID# 2413




            388

            use, or for the use of others; nor shall any person sell, give
            away or dispose of any intoxkating liquors in or upon any
            park.
                     No intoxicated person will be allowed to enter
                    30.
            or remain within any of the parks.
                     All persons are prohibited from gomg onto the
                    31.
            ice on any of the lakes, ponds or streams in the parks, ex ..
            cept such as are designated as skating fields, and thereon
            only when the safety· signal is displayed.
                    32.   It shall be the duty of every person claiming· to
            have a permit from the board or any of its officers, to pro-
            duct and exhibit such permit upon the request of any author-
            ized person who shall desire to inspect the same.
                      All permits issued by the board or its chairman
                    33.
            or secretary shall be subject to the park rules and regula-
            tions and city ordinances, and the persons to whom. such
            permits shall be issued shall be bound by -said rules, regu~
            lations and ordinances as· fully as though the same were
            inserted in such permits; and any person or persons to whom
            suc;h permits shall be issued shall be liable for any loss, d:~m-
            age or injury sustained by any person whatever by reason
            of the· negligence of the person or persons to whom such
            permits shall be issued, as well as for any breach of such
            rules, regulations and ordinances to the person or 'Persons
            to whom such permits shall be issued, as well as for any
            breach of such rules, regulations and ordinances to the per-
            son or 'persons so suffering damages or injury, and to the




                                                                       FFXCO_12954
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 125 of 144 PageID# 2414




                                                                            395

            shall be deemed guilty· of a misdemeanor, and shall, upon
            conviction before the judge of the city court of Pueblo, be
            punished by a fine not exceeding fifty dollars or by impris-
            onment not exceeding thirty days or by both such fine and
            imprisonment at the discretion of the court.
                 49.   These ordinances take effect from!·and after their
            passage.
                 (No. 6:78. Passed and approved August       22,   igo4.)

                 Note: For_ ordinances relating to particular parks and
            park districts, their creation, improvement, etc., see Addenda.




                                                                        FFXCO_12955
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 126 of 144 PageID# 2415




    EXHIBIT 51



                                                               FFXCO_12956
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 127 of 144 PageID# 2416



                           A DIGEST
                                          OF THE




          Laws and Ordinances
                    FOR   THE       GOVERNMENT      OF THE      MUNICIPAL
                                    CORPORATION     OF THE



                  CITY              OF BARRISBURG                                        I /   I




                                    PENNSYLVANIA
                     IN   FORCE         AUGUST        r,   A.   D.    1906   -




                                -                                     I
                   PUBLISHED        BY AUTHORITY     OF CITY         COUNCILS




                                         PART I.
                          By LOUIS    RICHARDS,     ESQUIRE
                               of the Berks County Bar

                                        PART II.
                     By JAMES    M. LAMBERTON,     ESQUIRE
                           of the Dauphin County Bar




                                        NEWARK, N. J.
                                       SONEY & SAGE
                                             1906



                                    YALE LAW LIBRARY.


                                                                                 FFXCO_12957
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 128 of 144 PageID# 2417




             DIGEST OF THE ORDINANCES
                                  OF THE




          CITY OF HARRISBURG
              AND    SPECIAL     ACTS       OF ASSEMBLY
                       RELATING           THERETO.

                               COMPILED    BY




                 JAMES    M. LAMBERTON,         ESQUIRE.

                                                           (317)




                                                                   FFXCO_12958
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 129 of 144 PageID# 2418



                             PARK COMMISSION AND PARKS.                           467

           of the sarm.e,That permission be and the same is hereby granted
           to the Keystone Chapter of the Pennsylvania Society of the
           Daug~ters of 18~2 to pla.ce in Lincoln Park a large boulder, ap-
           propriately mscribed, to perpetuate the memory of Ferdinand
           Durang. 1 April, 1902. 0, 231.
              Grass plots.
              _9. That the Harrisburg park commission be and it is hereby
            directed to ~onstruct, tal~e charge and maintain all grass plot;3
            duly authorized, and which may hereafter be authorized to be
            construct~d within the curb lines of city streets, and exercii!e
            jurisdic~ion over said grass plots in the same manner as if they
            were parts of the public park system of the city. 23 July, 1904.
            D, 106, §1.
               Property !or park purposes   may be acquired;   Unused ducts _in city's
            conduit may be leased.
               10. That the Harrisburg park commission be, and the same is
            hereby authorized to procure, by lease, real property for public
            park purposes, subject to the approval of councils bf joint resolu-
            tion as to the terms and conditions thereof; and also, to lease or
            let the unused ducts in the city's conduit, along Front and Mar-
            ket streets, upon such terms and conditions as may likewise be
            approved by councils. 19 June, 1906. D, 481, §1.
              RepeaL
               10a. That all ordinances, or parts of ordinances, in conflict
            herewith be, and the same ai·e hereby repealed. Id., §2.
              Park   Rules.
               11. The following sections are published in pursuance of
            Article VI, Section 8, of the Act of Assembly, approved the 23d
            day of May, A. D. 1889, entitled "An act providing for the in-
            corporation and government of cities of the third class."
               Section 1. The term "parks" used herein shall be construed
            to include all lands and waters under the control of the Harri::,-
            burg park commission, m· that may come under its contro,l while
            these regulations are in force.
               The term "commission" shall refer to the Harrisburg park
            commission.
                Section 2. The parks of the City of Harrisburg are for the
            benefit and pleasure of the whole public, and all persons who use
            said parks shall be subject to the rules of the park commis~ion.
               The roadways in the parks shall not be used by any vehicles ex-
            cept those employed for purposes of pleasure or recreation and by
            pleasure-seekers on horseback.
               The walks and foot-bridges shall be used exclusively by pedes-
            trians, except that baby carriages, i1walid chairs and c_hildrens'
            carts may pass thereon, but loafing or prolonged standmg shall
            not be allowed on the same.
                This section shall not apply to vehicles used by order of the
            commission.
               Automobiles may be forbidden to run in all or part of any park




                                                                                    FFXCO_12959
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 130 of 144 PageID# 2419


               468          PARK COMMISSION AND PARKS.

               or parkway at the option of the commission, which shall in that
               case post legible notices at the entrances of said park or parkway.
                  The parks shall be closed from twelve o'clock midnight, till sun-
               rise, and all persons found lounging between these hours may bo
               arrested for trespass.
                  Section 3. No person shall commit any of the following actd
               within the parks or parkways:
                  1. Commit any disorderly or immoral acts.
                  2. Be intoxicated.
                  3. Throw stones or missiles.
                  4. Utter loud, profane, offensive or indecent language.
                  5. Play any game of cards or chance.
                  6. Tell fortunes. •
                  7. Beg.
                  8. Publicly solicit subscriptions.
                  9. Drive or lead a horse not well broken.
                  10. Allow any dog or horse to run at large.
                  11. Throw, deposit or drain any offensive substance of any
               kind on or into any park, parkway, fountain, spring or 0ther
               park water-way, or deposit waste paper, fruit, refuse, lunch bas-
               kets or other refuse in any place save the receptacles theref oL
                  12. Sell any intoxicating liquors in any park or along any
               parkway.
                  13. Bathe in park waters, without having the body concealed
               by suitable covering, extending from the knees fo the sho,ulders.
                  Section 4. No person shall commit any of the following acti:,
               within said park or parkways, without the previously obtained
               consent of the commission :
                  1. In any manner pull, injure or break any fl.o,wer,fruit, plant,
               tree, grass, turf, pump or water fixtures, or other structure.
                  2. Write, paint or carve on any tree, bench or structure.
                  3. Olimb any tree, or tie any horse to a tree.
                  4. Carry or discharge any £rearms or £.reworks or send up any
               balloon.                              .
                  5. Ride or drive any animal or vehicle at a speed exceeding
               eight miles per hour. This shall not apply to the vehicles of the
               fire or police departments, ambulances or vehicles used by phy-
               sicians when actually engaged in responding to emergency calls.
                  6. Permit any animal except horses and led dogs to enter sairl
               parks.
                  7. Obstruct in any way a roadway or path.
                  8. Carry any :flowers or shrubs, firearms, sling-shot, ax, saw,
               shovel or spade within reservoir park.
                  9. Keep or offer anything for sale.
                  10. Post or display any sign, banner or advertisement.
                  11. Play any music.
                  12. Deliver any public speech.
                  13. Hold any public meeting or engage in any roarc~in~ or
               drivinabl as members of a military• ' political or other orbuan1zahon.
                  14. Conduct any funeral procession or vehicles containing the
               body of a deceased person.




                                                                            FFXCO_12960
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 131 of 144 PageID# 2420



                                    PASSENGER          RAILWAYS.                             469
               15. Solicit or invite passengers for him for any boat or vehicle.
               16. Build any £.re.
               17. Take any ice from any park waters.
               18. Fish in any park waters.
               19. Enter any place where the words "No Admittance" or
            "Keep Off" shall be displayed.
               20. Enter or leave except at the established ways of entrance
            and exit.
               21. Place or propel any boat or other craft upon park watt:rs.
               22. Land from any boat at a place not designated by said com-
           mission for that purpose.
               23 .. Injure or unnecessarily disturb any fish, water fowl, birds
            or animals.
               24. Occupy in any way the slopes of the river park, except as a
           landing place.
               25. Hold any picnic at a place not designated for that purpose.
               26. Play baseball, tennis nor any other game or sport at a
           place not designated for that purpose.
               27. Bathe in any place not designated. by the commission.
               28. Violate the reg11lations relating to the use of any building
           or place.
               29. Injure any notice posted hy order o,f said commission.
               Section 5. Any person violating any of the foregoing rules and
           regulations shall, upon conviction thereof before• the mayor o,i•any
            alderman of the city, be sentenced to• pay a fine of not more than
           fifty dollars ($50) and the costs of prosecution, and in default of
           the payment thereof be imprisoned in the jail of Dauphin county
           for a period not exceeding thirty (30) days. 14 Sept., 1905.
           D, 421.

                                    lBassenget lllaiUl.la!?S.
                                    [See STREETs-SunwAYS.]
             Acceptance of ordinance, &c., 16.            Penalty for pHing dirt, snow, &c., on
             Consent of city, certificate, 11.         streets, 2.
             Consent of city, bow given, 12.              Penalty for violating ordinance as to
             Construction    regulated, 13, 14.        construction,   &c., 13. 14, 15.
             Dirt, snow, &c., not to be piled 011         Penalty for vlolatl11g o-rdinance as to
          streets, 1.                                  rnils, &c., 10.
             Highways     to be p11t in good concll·     Repeal, 4, 17.
          tlon. promptly, 9.                             Solid grooved rail to b-e used. 7, 8.
             Operations    regulated,  15.               Snow, dirt, &c., on streets, 1.
             Penalty for failing to clear and sweep      Snow to be removed, 5.
          highways, 6.                                   Supervisors to e11force orcl!nnnce, 3.
             Railway    companies    forbidden   to place   piles of snow,    &c., on streets.
             1. That from and after the passage of this o·rdinance it shall
          be unlawful for any passenger o•r ot-her railway company to place,
          or cause to be placed, any heap or heaps, or piles of ice, snow or
          dirt or other rubbjsh, upon any street or avenue in the City of
          Harrisburg traversed by said railways. 5 Feb., 1887. 4, 133, §1.
             Penalty.
             2. Any officer or employe o~ any of said railway _companies:,
          whose duty it shall be to supermtend the tr~cks of said compan-
          ies who on notice from either of the supervisors, shall ref use o.r
             '      '



                                                                                                 FFXCO_12961
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 132 of 144 PageID# 2421




    EXHIBIT 52



                                                               FFXCO_12962
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 133 of 144 PageID# 2422




                    ANNUAL REPORT
                                       OPTlm




           PARK COMMISSIONERS
                                       OPTIIB



                  CIl'Y OF HAVERHILL
                             MASMarusETrS


                For the Year Ending December3J, 1905.




                          HAVERHILL.       MA88ACMUSIETTS

                                         1eoe




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                                                                                    FFXCO_12963
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 134 of 144 PageID# 2423




                                                                     FEB 6 - Hl22

                                   RULES AND RECULATIONS                             11


                                    APPENDIX A.
             RULES AND REGULATIONS GOVERNING THE PUBLIC
                 PARKS WITHIN THE CITY OF HAVERHILL.

                                       Adopted 1905.

           IT IS FORBIDDEN :

             I.   To drive any carriage, cart or horse, or to pass with any cycle,
                    wheelbarrow or handcart upon any part of any public park ex-
                    cept the regular carriage roads : to enter or drive within the
                    park.s In any automobile ; to do any teaming over the road-
                    ways of any park.

            2.    To drive, ride or cycle within the limits of the parks at a rate
                    faster than eight miles an hour.

            3.    To allow animals of any kind to pass over or stay upon the park
                    lands, providing that this shall not apply to dogs when closely
                     led by a leash or chain along the regular roads or paths.

            4. To hitch a horse or any other animal to any tree, shrub or fence,
                 or to leave a horse untied or,; tied within reach of any tree or
                 shrub.

            5. To cut, bre:lk, deface, defile, ill-use or remove any building, fence
                 or other construction, or any tree, shrub, plant, turf or flower.
                 whether cultivated or wild, or to have possession of any fresh-
                  ly-plucked tree, shrub, flower, or plant, or any plant thereof.
            6. To catch, or to endeavor to catch any birds or animals, or to dis-
                 turb their nests or habitations.
            7.    To drop or deposft any remnant of feed, any paper or waste of
                    any sort upon the walks or grounds of any public park, or In
                    any fountain or waters .thereof. or in any manner to defile or
                    polute the same.




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 135 of 144 PageID# 2424




                                I
                                     !
                                     i
                                     1
                                         12                       RULES AND REGULATIONS
                                     l
                                j'


                              l:          8.     To engage in any game or athletic sport except upon grounds
                            fl                      that may be provided therefor.
                            '
                            I
                                           9.    To throw stones, balls or other missiles ; to discharge or carry
                I
                            ~                       firearms, torpedoes, firecrackers or fireworks ; to sell, offer
   i

    ;,
    \
                ~
                            !                       or expose for sale any goods or wares; to post or display
                                                    in any manner within any park or upon the gates, fences or
                                                    inclosures thereof. any advertisement, posters or written or
                                                    printed notice of any description ; to play games of chance :
                                                    to utter profane, indecent or threatening language ; to bathe
       ..                                           or fish: to commit any nuisance or to annoy wilfully any
                                                    visitor within the parks.
       ~




    cl'                                   I 0.   To light any fire for any purpose within ~my public park.
    :-
                                          I I.   To refuse to obey such orders or requests of either of the park
    •.                                              commissioners or of the superintendent or other agents of the
   •i                                               commissioners, as shall have for their object the preserv~-
                                                    tion of the parks and their contents or the maintenance of
    i               ' r-:
    ~
                                                    order and decorum within the limits of the park.
                       ,~'

                      I
                      ~::
                                         It is also forbidden without the prior consent of the board of park
                                            commissioners, granted in writing and signed by the chairman
                                            or secretary of said board:

                      t
                      J.l   ~
                                     I
                                     '
                                          12.    To open any trench for any purpose within the limits of any pub-
                                                    lic park or to stretch any wire, rope or chain across any part
                     ~:;                            of such park.
                     l:i
                     f·                   13.    To hold any public meeting or gathering for political or other pur-
                     .,..                           poses, or to m:ilke any oration or harangue, or to discharge

                     •·                             any fireworks upon my public park.

                                             Whoever violates any of the provisions of the foregoing rules
                     .
                     .,                  and regulations shall be punished therefor by a fine not exceed-
                                         ing $20.00.
                     ;I
                     ~


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                      I ~•I




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Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 136 of 144 PageID# 2425




    EXHIBIT 53



                                                               FFXCO_12966
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 137 of 144 PageID# 2426




                        CHARTER
                                              • OF        THE




      CITY                     OF                     SAGINAW-
                                MICH                        !GAN.

                  WITH         AME::::N0MENTS                             THERETO.


                                                AND         THE




           ACTS           OF         THE                     LEGISLATURE

                         RELATING               TO        OR       AFFECTING
                                                     THE
                                 CITY          OF         SAGINAW.



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                                               SAGINAW.
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                                                    1905.




                                                                                           FFXCO_12967
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 138 of 144 PageID# 2427



                        PARK    AND   CEMETERY   ,_COMMISS:IONERS.    TITLE   XX
     166



                                            TITLE XX.

                               Park ancl Cemetery Cornmis.sioners.

     Park. and .         Section 1. ~t the fir~t regular _ineeting of tl~e
     cemet~r:r:.      co1n1non council of the city of Saginaw, after this
     ~~~misswn-       act takes effect,. there sh:;t_llbe created and .constitut-
     w11en ..ana      ed a n~w board of park and ce1netery 'co1nmissioners
     ho~taap-
     porn  e ..    , in and for said city,_c01nposed of five members, who
                      shall be appointed by the 1nayor of the city of Sagi-
                      naw and confirmed- by the common council of said
                      city, and who shall be electors of said_ city, no more
                      than three of who1n shall reside in any one taxing
                    . district or belong to the sa1ne political party: and
                      who shall hold their office until the first regulat
                      1neeting of the common eouncil of said city in J anu-
                      ary, nineteen hundred six, and until their success-
                      ors I1ave been appointed and confirmed. •
                        Sec. ~- At the first regul:;ir ineting of the com.
                    1non council in January, nineteen hundred six, their
                    successors in office shall likewise be, appointed by
                    the 1nayor of the city of Saginaw and confirmed by
                    the common council of. the city of Saginaw, one for
                    the tenn of one year, one for the term of two years,
     Term.          one for the tenn of three years, one for the term of
                    four years and one for the tern1 of five years, and
                    annually thereafter the 1nayor of the city of Saginaw
                    shall appoint one member of the board of pa:,;k and
                    ce1netery commissioners, and the common council
                    shall confirm such appointment, for the term of five
                    years, and said electors shall constitute the board
                    of park and ceinetery co111missioners of the city of
                     Saginaw. The inembers elected under thi,s act shall,
      When to       within ten days after their election, or such further
      meet and
      organize.
                      •
                    tune   as t h e co111moncounc il may fix, meet and' or-
                    ganize such board of park and cemetery commis◄
                    sioners by the election of one of its me111berspresi-
                    dent, who shall hold his' office one year.
                      Sec. 3. Such board of park and cen\etery com-
                    n1issioners shall hold regular meetings once· a month,

                                                                      FFXCO_12968
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 139 of 144 PageID# 2428



     TITLE   XX      PARK   AND   CEMETERY     .COMMISSIONERS.                169


     to the corporation with such sureties as the board :it;/ i~ 1~i11
     shall approve. that hie will perfonn the work or fur-: ~i~ 1;r~~~est
     n· sh tbe material -and supplies in accordance with r~sponsible
     h 1. s contract,· and such b oard shall be t }1e fina l JU
                                                              . d ges bidder.
     as t o w l10 a:re respons1'bl e b"dd
                                      1   ers, an d on tl1e f'a1·1ure Bidder
                                                                      furni.~h to
     of such bidder, withi10 a reasonable ti1ne, to ,bE~fixed sureties.
     by the board. to enter into bond with such surety as
     before provided, the contr'act may be made with the
     next highest responsible bidder, and so on until tbe
     rontract is effected by the contractor giving bond as
     aforesaid:        Prov~ded, That t4e board may reject Proviso
     any and a11 bids; and that no meinber of the said                         •
     :;nard shall be in any manner, either directly or in-
     directly, interested in any contract.
         Sec. 12. . The title of all property • now or here- Parks,  etc.,
                                                             to be free
      aft~r acquired for park purposes, park entrances. from all
      park driveways and park boulevards, with all im- taxes.
      provements and equip1nents, shall be held freE~from
      an taxes and assess1nents by State, county or n1unici-
      pality.
         Sec. 13. Such board of park and cemetery com- tit/al                re-
      missioners shall annually, on the first lVIonday in    •
      .April, make a report to the council of their proceed-
      ings in respect to par:ks, with a detailed statement
      of their receipts and expenditures during the year;
      and they shall also at the sa1ne .time submit to the
      council a detailed estirn.ate of the ainount of :monev
      necessary to 1nainta(in and improve such park o'i·
      parks for the ensuing year.
         Sec. 14. The common ~ouncil with the consent of fg:::i~i~n            and
      the board·of. estimates, 1nay. cause to be placed upon bot3:rd
                                                                  es 1mates
                                                                           or
      the general tax roll and raised by tax, the same as may r8:ise
                                                 . k proper to be mainten-
      other taxes, sue h su1n as t l1ey 1nay t lnn                funds    tor

      raised for each of the: several objects of expenditures ~~;~s~\tc.
      estimated as aforesaid for the maintenance and im- ~i~n~axa-
      provernents of said ]parks, public grounds or baths,
      or for the payment of any other expenses which said Public     th
      cornn1issioners are, by this act, authorized to incur. ba s.
      For the purpose of either establishing              bathing
      beaches, or erecting suitable buildings in connection


                                                                       FFXCO_12969
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 140 of 144 PageID# 2429



      no               PARK   AND    CEMETERY     COMMISSIONERS.           TITLE   XX



      Fixing
      marking or        th_erewith, estal~lishinQ·,
                                                .._, fixing:
                                                          ._, or n1arking dock lines,
      G1oc1c unes.      purchasing city prQperty adjacent to the· waters of
                        the Saginaw river or its tributaries, or iinproving
                       the same by :filling or otherwise, or any or all com-
                       bined; tbe coinn1on council shall have the power, with
                       the approval of the board of estiinates, to borrow
                       upon the faith and credit o'f the city, upon the best
                       terms they can make, and for such a time as they
     :t~ ~grrnw        may deein expedient, a sum of inoney not exceeding
     t;~ef~~~~- ten thousand doll~rs, and s~1allhave th~ autho~·ity __              to
     sanc1 dol-        issue bonds pledging the faith and credit of said mty
     Iars.             for the payinent of the prinicipal and interest of
                       said bonds, which bonds shall be denoininated I 'Park
                       -improvement bonds of the city of Saginaw,'' and
     Park     im-
     wrovemen:t
                       sha] l bear interest at a rate not exceeding four per
     bonds.            cent per annuin and shall mature in not n1ore than
     Council
     provide
                   to
                   for
                       thirty years froin date of issue. •The coininon coun-
     advertisi!l'g     cil shall have full authority to provide, by resolu-
     and sale of
     bonds.            tion, for the advertising and sale of said bonds, and
                       the mannare thereof shall conform as near as prac-
                       ticable to the regulations prescribed by law for the
     M~ne:y. to be issuance of sewer bonds.             The . moneys    so raised ' as
     paid into                                                      •   .
     the city          well as any other n1oneys received from any source,
     ~rnels~~:~ait-    shall be paid into the city treasury and credited to
     fe11~~ park a fund to be styled the ''Park· fund,'' and 'shall be
                       expended and paid out only for the p-q.rposes ap-
                       proved by the common council and the board of esti-
                       mates.                                             •
     All bills to     Sec. 15. AJl bills: accounts and claiins of every
     be audited
     by commis-
                   character against the said department, shall, arter
     sioners.      having been duly audited by said commissioners and
                   certified by them and the clerk, be transin,itted to the
                   city controller, who' shall subn1it the same to' the
                   co1nmon council with his approval or disapproval.
     Allowed    by
     council.      ,,¥hen said bills, accounts and claims shall have been
                   allowed by the connnon council the controller shall
                   draw his warrant or warrants on the city treasurer
     Proviso.      in payinent therefor:     Provided, however, That no
                   bill, account or clain1 against said department shall
                   be audited by the commissioners, unless it shall be
                   accompanied by an affidavit of the person rendering
                   it that he- verily believes the services or property

                                                                          FFXCO_12970
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 141 of 144 PageID# 2430



     'TITLE   XX       PARK       AND   CEMETERY    COMMISSIONERS.                    171


      therein charged have been actually perfonT1ed or
      delivered to the city, and that the sums charged
      therefor are reasonable and just, and that to the best
      of his knowledge and belief no offset exists or pay7
      1nent has been made oil account thereof, except such
      as are included or referred to in such bill. account or.
      claim. All pay rolls shall be certified by said con1-Pay rolls.
      rnjssioners and clerk, and shall be delivered to the
     •cjty controller, who shall draw his warrant for the
      payment thereof, and deliver the same to the city
      treasurer, together with said pay roll, and said city
      treasurer shall pay the amounts· mentioned in said
      l~~y_r_oll,to the pe!·sons entitled thereto. No _debt or~~ c~:~te~ 0
      hab1htv of any k1nd shall be created by said com- in excess
         . . "      d ,. _             fi   -     .          f of money
      1111ss10ners unng any .one sea 1 year 1n exc:ess o then in
      the- moneys then in said' fund 1 or which may have fu nd •
      been authorized to be raised by the common eouncil
      for·said year. The co1nn1issioners may receive dona- commls-
      tions or bequests of 1noney or property , which• shall sion~rs
                                                               receive  may
      be used for• the maintenance and in1provement of donations,
      the grounds under their• charge as contemplated by etc.
       such donations and bequests, which said 1nonev shall To be paid
      be paid into the city treasury by them, and wa~rrants i~~~s~}g
      drawn against the same, as in case of other expenses ~~~t;ai·-
       of such departinent, for the purposes for whieh said ~~!:'~ras in
      donation or bequest shall have been made •               other ex-
                                                               penses.
          Sec. 16. It shall be unlawful for any person to It shall be
             • •
      cut, rnJure      or d e f aee. any t ree. •bu1·1d·1ng, f ence ·or unlawful
                                                                           ror any
                     •    •
      0 tlier erec t 10n 1n any O
                                     f tl      •d    l         l d  ,      person
                                         1e sai par rn, par { 1 rives, injure a_ny   to

      park entrances or park boulevards, or to turn do1nes- f~~~- ~t~'.Id-
      tic ani1naJs or poultry of any description upon the
      same or permit the:m to wander thereon; to carry
      firearms within or to frighten, hurt or kill anirnals or
      fords belonging to the same, to hinder or to interfere
      with men employed upon the same. Such board of c_ommis-
                                         . ,
      par 1c an d ceine t ery e01nm1ss10ners      an d t lieir. of':flcer~ s1oners
                                                                           their or-
                                                                                      and

      an d ernp l oyes Sh a 11 ][laVe power tO ma kye arre8 t S •f OT' ficers
                              0

                                                                                   shall
                                                                           have power
      1nisdemeanors con1mitted within the precincts of any ~~-r~~<~!~e
      park. park entrance, park driveway or park boule.
      vard under their n1anagement and control whether
      within or without the li1nits of the city, or for tho



                                                                              FFXCO_12971
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 142 of 144 PageID# 2431



                           PARK   AND   CEMETERY   COMMISSIONERS.      TITLE   XX
     172

     May seize
     and im-            violation of any ordinances of _said city. Such board
     pound
     tle, etc.,
                cat-    of park and cenrntery co1:rn11issionersshall have pow-
     found at
     larg·e in
                        er to seize and i111pound any cattle, horses, mules,
     parks.             donkeys, goats, swine, sheep or other animals, or any
                        poultry of any description found running at large
                        upon parks, park entrances, park driveways or park
                        boulevards.
     Rate of               Sec. 17. No person shall ride o~· drive in parks
     speed for
     vehicles.
                        or boulevards at a rate of speed exceeding eight
                        miles per hour, excepting that horses may be speeded
                        on such parts of said boulevard or parks ~s may be
                        set apart by said commissioners for that purpose,
                        and then only under such regulations as the c0111mis-•
                        sioners may prescrib~.
     Riding on
     footpath.              ·sec. 18. No person shall ride, drive or draw any
                         velocipede. bicycle, tricycle, wheelbarrow/ hand cart,
                         or any other vehicle or any horse or other anhnal
                         on the foot-walks or sidewalks, grass plots or planted
                         places of parks or ·boulevards or upqn any other
                         part or portion thereof excepting· upon ·the-carriage
                         drives ; and no •person shall perinit any vehicle or
                         animal to ·stand upon such roadways or 'carriage
                         drives to the obstruction of the way 01 .. inconvenience
                         of travel, and no person shall solicit pas~engers for
                         hire on ~ither carts or boulevards, excepting by di-
                         rection or 1:>ebnission of said commissi?ners.
                             Sec. 19. No person shall tie any animal to any
     Tying     to        tree or shrub, electric light tower, lamp post, fire
     trees.
                         hydrant or dock or building in said parks or boule-
                         vards. nor pluck, break, trample upon or- interfere
                       ,.wjth any grass, flower, plant or shrub in any of such
                       •.parks or boulevards, or cli1nb, peel, cut, deface, re-
                         move injure or destroy any tree or shrub in any pub-
                         lic patk or ·boulevard or pasture any anhnal on the
                         grass in any of said parks or boulevards, and no
                         person shall stand, wa]k or lie upon any part of any
                         public park or boulevard laid out or appropriated
                         for shrubbery or for grass when there shall have
                         been placed thereon a sign having the words "keep
                         off the grass'' or other similar words thereon.


                                                                        FFXCO_12972
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 143 of 144 PageID# 2432



      TITLE   XX    PARK   AND   CEMETERY   COMMISSIONE:RS.           173

         Sec. 20. No person shall cut: break, or in any f~!nu;yP~~t.
      way injure any electric light tower) lamp post, fence, etc.
      bridge, dock, building, fountain or other structure
      or property in or upon any of said parks or boule-
      vards: and no person shall post or fix any notice or
      bill or other writing: or printing on any tree, tower,
      lamp post, hydrant, curbstone,      coping, flagstone.
      fence, dock, bridge,, walL buliding or other place
      under the <?harge or control of said commissioners ..
         Sec. 21. No person shall engage in any sport or.Frighten-
      exercise upon boulevards or parks as shall be liable ing horses,,
      to frighten horses·, injure travelers or embarrass the etc.
      p~ssage of vehicles· thereon.                •
        • S'ec. 22. No person shall fire or discharge any Noise.
       gun or pistol, or carry firearms,· .or th.row stones or
       other mis_siles within park boulevards, nor shall any
       person fire, discharge or set off any rocket, cracker,
       torpedo, squib or other fireworks, or things contaiu- Fire arms
       ing any substance of any explosive character on said !Pv~s_explo-
       park or boulevard without the consent of said com-
       missioners, and then only under such regulations as
       they shall prescribe ..
          Sec. 23. No person shall gainble; ·nor 1nake any Gambling.
       indecent exposure of hi1n.se]f or herself nor use any
       obscene language, mr be guilty of di1?orderly conduct,
       or: n1ake, aid, countenance or assist in making any
       disorderly noise,'riot, or breach of the peace, within
       the· limits of parks or boulevards; and no person
       shall sell or dispose of any intoxicating liquors in saie or
       or upon any public park without the consent of the liquors.
       said commissioners.
         Sec. 24. Any violation of the provisions of this Punish-
      act shall be punished in the police or justice's court, ment.
      by a fine not to exceed one hun~;·ed dollars and costs,
      and in. the imposition of any fine and costs, the court
      may make a furthel' sentence that the offender may
      be imprisoned in the Saginaw county jail until .the
      pay1nent of.such fin1e,for any period of time not ex-
      ceeding ninety days.



                                                               FFXCO_12973
Case 1:23-cv-01605-WBP Document 46-2 Filed 04/26/24 Page 144 of 144 PageID# 2433



      174                PARK   AND   CEMETERY   COMMISSIONERS:        TITLE   XX



                          Sec. 25. The police comn1issioners of the' city of
                       Saginaw 1 upon the request of said park and ceine-
                       tery con1missioners, shall d~tail for service in any of
                       the grounds or. pr.operty under the charge of said
      Police
      maintain
                to     park and ce111etery c01n1nissioners,· so 1nany of the
      order.           police fore~ as 1nay be .necessary to maintain •order
                       and protect the property thereon, and any police1nan
                       on duty on ,said grounds may remove therefrom any .
                       person who may violate any of the rules and regula-
                       tions of said con1missioners, or of any of the ordi-
                       nances of sa)d city, adopted as aforesaid; relating
                       to said parks. p·ublic grounds_ or boulevards.
      Filth,
      not to be
               etc.,      Sec. 26. No person shall place or deposit any
      c1epostec1 on. dead carcass, ordure, filth or garbage of any kind on
      boulevard
      or parks.        any pu bl·.1c par k s ; an d no person sl1a11 sen d or n·ae,
                       any ani1nal into san1e, nor shaH any person kill, 1no-
                       lest or disturb any fish, fowl or aiii111alskept thereon;
                       and no person •shall wade into or throw any wood,
                       sand. stone; or other substance into any basin, pool,'
      Fishing.         lake or fountain in any public park, or bathe or fish
      Bathing      .   in· any-·,of the waters. thereon, except in Saginaw
                       river, where peI'S()nS 111ay bathe and swi1n, but only
                       under such restrictions and conditions as may be
                       prescribed by the police, connnissioners or board· of
                     . park and cemetery commissioners.
      Playing
      g·ames.            Sec. 27. No person shall play at any gan1e what-
                      eve~· in any of the· said parks under the charge of
                      said c'omrnissioners: Provided, however, That ball,·
                      golf, croquet, cricket, lawn tennis and other like·
                      ga1nes· ·or recreation may be played upon such por- •
                      tions of said parks as may be designated from time
                      to tin1e by the commissioners, and under such rules
                      and regulations as may be prescribed by them.
      Hawking
      and      ped-      Sec. 28. No person shall expose any article or
      dling.          thing for sale, or do any hawking or peddling, in or
                      upon said parks, without the consent of said
                      com111issioners, nor play upon any 1nusical instru-
      Music.
                      ment or carry or display any flag·, banner, target or
                      transparency; nor shall any military or target co111.-
      Marching
      and             pany, or band or procession arrayed, 111arch,drill or
      drilling.
                      perform any evolutions, n1ovements or ceremony

                                                                      FFXCO_12974
